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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH DAKOTA
                                       SOUTHERN DIVISION


 SACRED HEART HEALTH SERVICES d/b/a                               4:20-CV-4149-LLP
 AVERA SACRED HEART HOSPITAL,
 AVERA HEALTH and LEWIS & CLARK
 SPECIALTY HOSPITAL,LLC,                             MEMORANDUM OPINION AND ORDER
                                                     GRANTING IN PART AND DENYING IN
                         Plaintiffs,                    PART DEFENDANTS' MOTION TO
        vs.                                                            DISMISS


 MMIC INSURANCE,INC. d/b/a MMIC
 AGENCY,INC. and CONSTELLATION,INC.
 f/k/a MMIC GROUP,INC.,

                         Defendants.


       Defendants MMIC Insurance, Inc. d/b/a/ MMIC Agency, Inc. ("MMIC") and
Constellation, Inc. flkJaJ MMIC Group, Inc. ("Constellation") have filed a Motion to Dismiss
Plaintiffs' claims in their entirety. (Doc. 49). For the following reasons. Defendants' Motion to
Dismiss is granted in part and denied in part.

                                         BACKGROUND


       The following facts are alleged in Plaintiffs' Amended Complaint. Avera Health is a large
regional health system that owns and operates the Avera Sacred Heart Hospital in Yankton, South
Dakota. (Doc. 44,       23-24). Lewis & Clark Specialty Hospital,LLC("LCSH")is a hospital and
surgery center in Yankton owned by physicians in that community. (Doc. 44,        25-26).

       A. Avera's Healthcare Liability Policies

       Avera purchased a combined Healthcare System Liability Protection Policy Excess of Self
Insured Retention ("Avera's Primary Policy") and Healthcare System Umbrella/Excess Liability
("Avera's Excess Policy") jfrom MMIC which was in effect from January 1, 2014 through April
1, 2015 ("Avera Policies")(Doc. 44,      27-28; 44-1 at 412; 51-10 at 668, 677). Avera's Primary
Policy provides that:

               MMIC agrees to pay on behalf of the insured all sums which the insured
       shall become legally obligated to pay as damages because of any claim or claims
       first made against and reported to the insured during the policy period and occurring
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       within the coverage territory arising out ofthe performance of medical professional
       services rendered or which should have been rendered on or after the retroactive
       date by the insured or by any person for whose acts or omissions the insured is
       legally responsible.
(Doc. 44-1 at 415). Excluded from coverage was "any willful, fraudulent, dishonest, criminal or
malicious act or omissions, by or with the knowledge or consent of, or at the direction of, any
insured." (Doc. 44-1 at 415). Avera's Primary Policy provides that"MMIC shall pay damages
for all covered claims in excess of the self-insured retention, up to the limits of liability as shown
on the Declarations Page." (Doc. 44-1 at 415). Avera's self-insured retention liability limit under
Avera's Primary Policy was $2 million per event and $6 million in the aggregate ofcovered losses.
(Docs. 44, 30; 41-1 at 412).

       Pursuant to Avera's Excess Policy, MMCI was to provide up to an additional $10 million
for covered losses which Avera becomes "legally obligated to pay as damages" in excess of
Avera's self-insured retention limits. (Docs. 44, 81-82; 51-10 at 679). Specifically, Avera's
Excess Policy provides that:

       MMIC agrees to pay on behalf of the insured, in accordance with the applicable
       provisions ofthe underlying insurance those sums,in excess ofthe applicable limits
       of the underlying insurance, which the insured shall be legally obligated to pay as
       damages, because of any claim or claims to which the underlying insurance would
       apply except for the exhaustion ofits applicable limit ofliability, first made against
       the insured and reported to MMIC during the policy period and occurring within
       the coverage territory, arising out of performance of medial professional services
       rendered or which should have been rendered on or after the retroactive date by the
       insured or by any person for whose acts or omissions the insured is legally
  ^    responsible.
(Doc. 51-10 at 679). "Damages" are defined under the policies as "all amounts of money which
are payable to compensate for loss because ofinjury to which this insurance applies." (Doc. 44-1
at 423).

        According to Avera's Primary Policy, MMIC had the right, but not the duty to defend
Avera and the right to settle any claim or suit covered under the policy within the available limits
ofliability. Specifically, Avera's Primary Policy provided:

               MMIC shall have the right but not the duty to defend, or assoeiate in the
       defense and control of any covered claim or suit made or brought against the
       insured that is likely to involve MMIC. However, MMIC shall have no duty to
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       defend any claim or suit or perform other acts or services in connection with any
       claim or suit. MMIC shall have the right to investigate any covered claim or suit
       to the extent that MMIC believes is proper. MMIC shall also have the right to settle
       any claim or suit covered under this Policy within the available limits of liability.

(Doc. 44-1 at 415). Once Avera had exhausted its self-insured retention limits under Avera's
Primary Policy, MMCI was obligated to defend Avera. Specifically, Avera's Excess Policy
provided:

       With respect only to insurance afforded by this Policy, if no underlying insurance
       is available due to exhaustion of its Policy limits by payment of losses, or if no
       coverage is provided by underlying insurance, MMCI shall have the right and duty
       to defend any suit against the insured alleging such damages, even if any of the
       allegations of the suit are groundless, false or fraudulent, and may make such
       investigation or such settlement of any claim or suit as it deems expedient, but
       MMCI shall not be obligated to pay any claim or judgment or to defend any suit
       after the applicable limit of MMIC's liability has been exhausted by payment of
       judgment or settlements.

(Doc. 51-10 at 681).
       Avera's Primary Policy provided that "[t]he insured agrees not to, except at the insured's
own expense, volimtarily pay or assume any obligation to pay damages or defense costs above the
self-insured retention." (Doc. 44-1 at 421). Avera's Primary and Excess Policies contained
"cooperation" and "no voluntary payments" clauses which provided:

       Insured's Duties in the Event of an Occurrence, Claim or Suit



       (c) The insured shall cooperate with MMIC and, upon MMIC's request, assist in
       making settlements, in the conduct of suits and in enforcing any right of
       contribution or indemnity against any person or organization who may be liable to
       the insured because of injury or damages with respect to which insurance is
       afforded under this Policy; and the insured shall attend hearings and trials and assist
       in securing and giving evidence and obtaining the attendance of ■witnesses. The
       insured shall not, except at the insured's own cost, voluntarily make any payment,
       assume any obligation or incur any expense other than for first aid to others at the
       time of accident.

(Docs. 44-1 at 427; 51-10 at 672). Avera's Primary and Excess Policies also both contained a "no
action" pro-vision which provided as follows:

       No action shall lie against MMIC unless, as a condition precedent thereto, there
       shall have been full compliance with all of the terms of this Policy, not until the
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       amount of an insured's obligation to pay shall have been finally determined either
       by final judgment after expiration of period for appeal against such insured after
       actual trial or by written agreement ofthe insured, the Claimant and MMIC. Any
       person or organization or the legal representative thereof who has secured such
       judgment or written agreement shall thereafter be entitled to recover under this
       Policy to the extent ofthe insurance afforded by this Policy.
(Docs. 44-1 at 428; 51-10 at 673).

       B. LCSH's Healthcare Liability Policies

       MMCI issued a combined Health System Liability Protection Policy ("LCSH's Primary
Policy") and a Healthcare System Umbrella/Excess Liability Policy ("LCSH's Excess Policy")to
LCSH which was in effect from April 1, 2013 through April 1, 2014("LCSH's Policy"). (Doc.
44-2 at 455-58). LCSH's Primary Policy was subject to a primary coverage limit of $1 million
per claim and $3 million in aggregate and LCSH's Excess Policy was subject to a liability limit of
$2 million per claim and $2 million in aggregate. (Docs. 44, ^f33-38; 44-2 at 455-58). LCSH's
Primary Policy provides that:

       MMIC agrees to pay on behalf of the insured all sums which the insured shall
       become legally obligated to pay as damages because of any claim or claims first
       made against and reported to the insured during the policy period and occurring
       within the coverage territory arising out ofthe performance of medical professional
       services rendered or which should have been rendered on or after the retroactive
       date by the insured or by any person for whose acts or omissions the insured is
       legally responsible.
(Doc. 55-10 at 703). Excluded from coverage is "any willful, fi-audulent, dishonest, criminal or
malicious act or omissions, by or with the knowledge or consent of, or at the direction of, any
insured." (Doc. 55-10 at 703). LCSH's Excess Policy provides:

       MMIC agrees to pay on behalf of the insured, in accordance with the applicable
       provisions ofthe underlying insurance those sums,in excess ofthe applicable limits
       of the underlying insurance, which the insured shall be legally obligated to pay as
       damages, because of any claim or claims to which the underlying insurance would
       apply except for the exhaustion ofits applicable limit ofliability, first made against
       the insured and reported to MMIC during the policy period and occurring within
       the^ coverage territory, arising out of performance of medial professional services'
       rendered or which should have been rendered on or after the retroactive date by the
       insured or by any person for whose acts or omissions the insured is legally
       responsible.
(Doc. 44-2 at 463).
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        Unlike Avera's Primary Policy, under LCSH's Primary Policy, MMCI had a duty to defend
LCSH. Specifically, LCSH's Primary Policy provided that:

        MMIC shall have the right and duty to defend any suit against the insured alleging
        such damages, even if any of the allegations of the suit are groundless, false, or
        fraudulent, and may make such investigation or such settlement ofany claim or suit
        at it's sole discretion, but MMIC shall not be obligated to pay any claim or
        judgment or to defend any suit after the applicable limit of MMIC's liability
        hereunder has been exhausted by payment ofjudgments or settlements."
(Doc. 51-11 at 703). LCSH's Primary and Excess Policies both had "cooperation,""no voluntary
payments,and"no action" clauses identical to those in Avera's Primary and Excess Policies. (Doc.
51-11 at 712).

        C. The Sossan Lawsuits


        The 36 lawsuits against Plaintiffs revolved around a spine surgeon named Allen Sossan
who was granted privileges at LCSH in 2008 and Avera Sacred Heart Hospital in 2009. (Doc. 44,
I 48). LCSH was the sole hospital defendant in 17 of the "Sossan lawsuits." (Doc. 44, ^ 49).
Avera was the sole hospital defendant hi six cases, and co-defendant with LCSH in 13 cases. (Doc.
44, If 50).

        The MMIC liability policies provided defense and liability coverage to Plaintiffs for some
of the claims made against them in the Sossan Lawsuits. (Doc. 44,f 51). The lawsuits alleged,
among other things, that Sossan performed unnecessary spinal surgeries and alleged that Avera
and LCSH were negligent in their credentialing, retention, and supervision of Sossan. (Doc. 44,
II52-53). For example, the Sossan Lawsuits alleged that Plaintiffs negligently;

       (1)granted privileges to Sossan,(2)maintained those privileges after problems with
       his surgeries came to light,(3)failed to warn patients of his history of unnecessary
       procedures,(5)failed to prevent him from performing unnecessary procedures,(5)
       failed to require that patients grant informed consent, and (6) failed to supervise
        Sossan.

(Doc. 44,154).

        Although Sossan was a named defendant, he previously had exhausted insurance coverage
and fied to Iran. (Doc. 44,155). Physicians Don Swift, Kynan Trail, Scott Shindler, Paul Hicks,
Daniel Johnson, David Abbott, and Joe Boudreau, all members of LCSH, also were named as
defendant in some of the lawsuits. (Doc.
                                     |   44, 56). Other than Dr. Trail, these physicians also
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were insured by MMIC under professional liability policies. (Doc. 44, Tf 57). It was agreed at the
outset that the physicians' MMIC policies would be treated as excess insurance'. (Doc. 44, 58).

       The Sossan Lawsuits were all assigned to a single state circuit judge, the Honorable Bruce
Anderson. (Doc. 44,    59). Six suits were brought in this court, but they were dismissed without
prejudice so they could join the state court proceeding before a single judge. Avera and LCSH
moved for summary judgment in all 36 cases. (Docs. 44, Tf 60; 51-12). Judge Anderson denied
these motions in November 2015,holding that the negligent credentialing claims were viable under
South Dakota law, and making clear the claims would be presented to juries. (Doc. 44,      61-63).

       In the Sossan Lawsuits, the plaintiffs claimed general damages, including for pain and
suffering, and special damages. (Doc.44,f64). Collectively,the special damages alone amounted
to $11,693,638. (Doc. 44, ^ 65). Considering the 10 percent in annual pre-judgment interest
assessed under South Dakota law, the amount claimed in special damages and pre-judgment
interest was $22,349,888. (Doc. 44,       66-67). The potential general damage exceeded that
amount.


       After five years of litigation, on June 11, 2019, Nicholas Ghiselli, Chief Legal Officer for
Constellation and its subsidiary MMIC, and MMIC adjusters Dawn Domsten and Shelly Davis
met with representatives and attorneys for Avera,LCSH,and the physicians to discuss the prospect
of mediation and global settlement ofthe lawsuits. (Doc. 44,168). On behalf of MMIC,Ghiselli
spoke with Chris Specht, Director of Risk Management for Avera, and agreed MMIC would
contribute $2,000,000 as "seed money" to get the negotiations started at the mediation. (Doc. 44,
Tf 68). Ghiselli confirmed MMIC's commitment in an email to Specht(Avera) on June 17, 2019.
(Doc. 44,170).

       On June 19, 2019, Ghiselli sent an email to Mark Malloy, MMIC's outside coverage
counsel in Milwaukee,and Joseph Farchione,a Denver attorney hired to examine potential liability
under the Sossan Lawsuits. (Doc. 44, ^ 69). In the email, Ghiselli introduced the parties and
instructed them to "please coordinate on the likelihood of coverage and liability." (Doc. 44, 69).
The email also stated: "Conflict of interest. We believe Avera and MMIC have a conflict of
interest, which is why we have retaiaed our own counsel." (Doc. 44,169). The email closed with
instructions to Malloy and Farchione to "please coordinate the coverage and liability analysis
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between each other. I don't think they can be separated for contribution purposes." (Doc.
                                                                                     |    44,
69).

       In a June 21, 2019, email to Specht at Avera, Ghiselli stated "As you know, we retained
Joe Farchione, at our expense,to help us determine our liability after we committed to a mediation.
Joe is connected with Mark Malloy [MMlC's outside counsel] on Tuesday to discuss the claims
and coverage. MMIC initially committed two million dollars to start a mediation. We will stand
by that commitment. However, we need to completely understand the liability and allocation of
responsibility among the parties. To date, MMIC does not have enough information. 1 do not
believe we can gather the information in time to responsibly participate in a mediation by July 22,
2019." (Docs. 44,171; 51-5 at 625).

       One June 25,2019, Ghiselli instructed MMIC adjusters Domsten and Davis that Farchione
would "take the lead in managing" the Sossan Lawsuits "including defense counsel." (Doc.
                                                                                    |    44,
72). In an email to Farchione and others representing the Defendants' interests on July 8, 2019,
Ghiselli told Farchione and Malloy that:

       1 need a well-reasoned articulated answer for [Specht] for why [MMIC] can or
       caimot contribute to mediation. If your team finds weak evidence of negligent
       credentialing, MMIC will be limited to its already committed two million. If your
       team finds strong evidence of negligent credentialing, we will contribute in
       proportion to our exposure. As we all know, we cover one of nine claims. Avera
       is willing to contribute above its SIR. 1 would like to give Chris an answer when
       you are ready in percentage offault, if any. For example,if we think we have 10%
       exposure, MMIC would be willing to commit two million to a twenty million dollar
       number. The mediation is scheduled for September 5 and 6... 1 think it is prudent
       to have both of you at the mediation, but 1 am open for discussion. The authority
       will be determined in advance.

(Docs. 44,173; 51-7 at 629-30).

       On August 16, 2019,there was a conference call between Defendant MMIC,including its
coverage counsel Mark Malloy,Joseph Farchione, attorneys and representatives for Avera,LCSH,
and the Individual Physicians, during which Farchione, on behalf of Defendant MMIC,advocated
for delaying any mediation in order to bring a summaryjudgment motion that was limited to claims
that Defendant MMIC believed were covered under the policies it sold to Plaintiffs. (Doc.
                                                                                     |    44,
74).
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          In an email sent to Ghiselli on August 19, 2019, Farchione referenced MMlC's agreement
to contribute at least $2 million toward a global resolution of the lawsuits without further
conditions attached, stating: "You gave him the $2M without strings." (Doc.
                                                                       |    44, 75). Ghiselli
again confirmed MMlC's agreement to contribute $2 million to a global settlement ofthe Sossan
Lawsuits in emails to Specht on August 20 and 25,2019. (Doc.44,            76-77). The $2 million that
Defendant MMIC agreed to offer and pay was substantially less than the internal global reserves
that Defendant MMIC had set for the Sossan Lawsuits. (Doc. 44,^ 78).

          On September 1, 2019, Ghiselli wrote in an email addressed to Defendant MMlC's
coverage counsel Mark Malloy; liability counsel, Joseph Farchione; and MMIC Claim Adjuster
Shelly Davis, stating:

          As 1 see it, our attendance is largely irrelevant with the exception of providing legal
          guidance and educating the mediator. We agreed to pay two million dollars to get
          the mediation started - that was the totality of the agreement - no other terms.
          MMIC will pay two million dollars on the condition it globally resolves all claims.
          We do not have additional authority."
(Doc. 44,t 80).

          D. Mediation


          On September 5-6, 2019, the parties to the Sossan Lawsuits and their attorneys,
representatives, and insurers began a multi-day mediation in Sioux Falls. (Doc.
                                                                           |    44, 82). Prior
to the mediation, Avera had previously paid $4,129,363 in claims attributable to its 2014 self-
insured aggregate retention Ihnit of$6 million under its insurance policy with MMIC. (Doc. 44,
If 84).

          During the mediation, Avera offered the plaintiffs in the Sossan Lawsuits $1,870,637, thus
meeting its aggregate $6 million self-insured retention limit under its policy. (Doc. 44, ^ 84).
MMIC representatives Tim Schultz, Dawn Domsten, and Shelly Davis reaffirmed MMlC's
commitment to contribute $2 million to settle the Sossan Lawsuits to Chris Specht, Avera's
Director of Risk Management and the attorneys representing the Avera Companies, LCSH,' and
the Individual Physicians at the mediation. (Doc.
                                             |    44, 87). These MMIC representatives also
informed Avera, LCSH, and the Individual Physicians at that time that Defendant MMIC would
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refuse to contribute anything more than $2 million to settle the Sossan Lawsuits—a position that
Plaintiffs allege had never before been disclosed to Plaintiffs. (Doc. 44,^ 87).

       Avera offered the 36 plaintiffs in the Sossan Lawsuits $3.95 million as a global settlement,
of which $2 million had been agreed to be paid by Defendant MMIC. (Doc.44,^ 88). During the
mediation on the morning of September 6, 2019, a meeting was held between Defendant MMIC
and representatives and attorneys for Avera, LCSH, and the Individual Physicians. (Doc.
                                                                                    |   44,
89). At that meeting, Tim G. Schultz, Vice-President of Claims for Defendant MMIC,informed
Avera,LCSH,and the Individual Physicians for the first time that it was conditioning its $2 million
contribution upon an agreement to waive any and all bad faith and other claims that MMIC's
insureds may have against Defendant MMIC. (Doc.
                                            |   44, 89). Also that same morning at the
mediation,Farchione reiterated this demand to LCSH and stated that their "marching orders" were
that no contribution would be made without the demanded waiver. (Doc. 44, f 90). When
Plaintiffs declined MMIC's demand to waive any bad faith claims it may have against MMIC,it
is alleged that Defendant MMIC withdrew the $2 million that it had previously agreed to contribute
as "seed money" to settle the claims, refused to contribute any funds to resolve the Sossan
Lawsuits, and left the mediation. (Doc. 44,192).

       E. Settlement


       It is alleged that the actions taken by the Defendants placed the Avera Companies in an
extremely precarious position as they faced extraordinary exposure from 36 lawsuits and were now
alone in the mediation. (Doc. 44,193). Ultimately, Avera, LCSH,and the physicians settled the
claims at their own cost without Defendant MMIC because it is alleged that MMIC left the
mediation and refused to participate in further settlement negotiations. (Doc.44,194). The global
settlement of$10,675,000 paid to settle the 36 lawsuits, without any contribution &om Defendants,
was within the limits ofliability coverage owed by MMIC under the Insurance Policies. (Doc.44,
If 95). Each ofthe LCSH physicians personally contributed $50,0,00 toward the settlement. (Doc.
44, Tf 96).- The individual physicians have assigned their claims against MMIC to LCSH. (Doc.
44,1106).

       On September 20, 2019, after the settlement was reached, attorneys for Avera and LCSH
wrote to MMIC seeking payment ofthe $2 million it had agreed to pay. (Doc.44,197). By letters
dated September 27, 2019, MMIC refused to pay the funds absent a waiver of Bad Faith and all
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other claims against it. (Doc. 44,^ 98). In the responsive letters to Avera written by Defendant
MMIC's coverage counsel, Mark Malloy, and copied to Ghiselli, Defendant MMIC represented
that it had "engaged separate counsel, Joe Farchione, to conduct a full review of the merits of the
case and provide an evaluation of the merits of the case (with no consideration of coverage
issues)." (Doc. 44, T[ 98). In those same letters. Defendant MMIC stated through its coverage
coimsel Mark Malloy that "a mutual release was always going to be contingency of any MMIC
contribution toward settlement," although it had never disclosed that fact. (Doc. 44, ^ 99).
Plaintiffs allege that Defendant MMIC is responsible to indemnify Plaintiffs for all amounts over
$1,879,637 up to the total amount of the settlement agreement for the Sossan Lawsuits under the
policy. (Doc. 44,^ 102).

       F. Procedural History

       On October 14, 2020, Plaintiffs Sacred Hearth Health Services d/b/a Avera Sacred Heart
Hospital, Avera Health, and Lewis & Clark Specialty Hospital, LLC filed a complaint against
MMIC Insurance, Inc. d/b/a MMIC Agency, Inc. (Doc. 1). On November 19, 2020, Defendant
MMIC filed its Answer to Plaintiffs' Complaint. (Doc. 12).

       On April 20,2021,Plaintiffs filed an Amended Complaint adding Constellation Inc. fDddJ
MMIC Group, Inc. as a named defendant who Plaintiffs allege .is the alter ego or agency of
Defendant MMIC. (Doc. 44). In their Amended Complaint, Plaintiffs allege claims for breach of
contract, alleging that MMIC breached its duties under the liability policies when it refused to
defend and indemnify Plaintiffs and when it conditioned indemnification upon release of
Plaintiffs' bad faith claims against it. (Doc. 44,   128-29, 142-43). Plaintiffs also allege claims
for bad faith, for breach of contract for withdrawing its $2 million settlement contribution,
promissory estoppel, and deceit.

       Defendants have moved to dismiss Plaintiffs' Amended Complaint in its entirety.
Defendants also seek to dismiss all claims alleged against MMIC's parent corporation.
Constellation, Inc. The motion has been fully briefed and argued and is ready for disposition.

                                   STANDARD OF REVIEW


       In considering a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), the
factual allegations of a complaint are assumed true and construed in favor ofthe plaintiff,"even if

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it strikes a savvy judge that aetual proof of those facts is improbable, and that a recovery is very
remote and unlikely." See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007) (internal
quotations omitted). "While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not
need "detailed factual allegations, a plaintifPs obligation to provide the 'grounds' of his
'entitle[ment] to relief requires more than labels and conclusions, and a formulaic recitation of
the elements ofa cause ofaction will not do." Id. at 555(internal citations omitted). The complaint
must allege facts, which, when taken as true, raise more than a speculative right to relief. Id.;
Benton v. Merrill Lynch & Co., Inc.,524 F.3d 866,870(8th Cir. 2008). "[Wjhere the well-pleaded
facts do not permit the court to infer more than the mere possibihty of misconduct, the complaint
has alleged—^but has not'show[n]'—'that the pleader is entitled to relief.'" Ashcroft v. Iqbal, 556
U.S. 662,679(2009)(citing Fed. R. Civ. P. 8(a)(2)). "Determining whether a complaint states a
plausible claim for relief is a context-specific task that requires the reviewing court to draw on its
judicial experience and common sense." Id. (citation omitted).

       When considering a motion to dismiss under Rule 12(b)(6),the court generally must ignore
materials outside the pleadings, but it may consider "'some materials that are part of the public
record or do not contradict the complaint,' as well as materials that are 'necessarily embraced by
the pleadings.'" Porous Media Corp. v. Pall Corp., 186 F.3d 1077,1079(8th Cir. 1999)(citations
omitted). In general, material embraced by the complaint include "documents whose contents are
alleged in a complaint and whose authenticity no party questions, but which are not physically
attached to the pleadings."          v. City ofGoden Valley, 666 F.3d 1148, 1151 (8th Cir. 2012).

                                          DISCUSSION


       In Counts 1 and 2 of the Amended Complamt, Plaintiffs allege that MMIC breached its
contractual duty to defend and indemnify Plaintiffs and that MMIC breached its duties when it
conditioned indemnification upon release ofPlaintiffs bad faith claims against MMIC. (Doc. 44,
   128-29, 142-43). Plaiatiffs allege that because of MMIC's breaches. Plaintiffs had no choice
but to enter into a settlement agreement to resolve the Sossan Lawsuits without any cooperation
or contribution from MMIC. (Doc.44,tT[ 130,144). Plaintiffs allege that they were forced to pay
for the cost ofthe Sossan Settlement without the help or participation of MMIC and that as a restilt
of MMIC's breach ofits duties under their liability policies, they are entitled to the amounts paid
to resolve the Sossan Lawsuits and attorneys' fees. (Doc. 44, 132-33, 146).

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       In response, MMIC argues that Plaintiffs breached their insurance policies when they
unilaterally settled without MMIC's consent and that as a result, MMIC is relieved of any liability
under the policies. Avera was self-insured up to $6 million in aggregate for the policy period.
Avera's policy provides that Avera"agrees not to, except at the insured's own expense, voluntarily
pay or assume any obligation to pay damages or defense costs above the self-insured retention."
(Doc. 51-10). Both Avera's and LCSH's policies include a "cooperation clause" and "non-
volimtary payments clause" which provides that:

        The insured shall cooperate with MMIC and, upon MMIC's request, assist in
        making settlements, in the conduct of suits and in enforcing any right of
        contribution or indemnity against any person or organization who may be liable to
        the insured because of injury or damages with respect to which insurance is
        afforded under this Policy; and the insured shall attend hearings and trials and assist
        in securing and giving evidence and obtairdng the attendance of witnesses. The
        insured shall not, except at the insured's own cost, voluntarily make any payment,
        assume any obligation or incur any expense other than for the first aid to others at
        the time of the accident.

Finally, both Avera and LCSH's policies include a "no-action" provision which provides that:
       No action shall lie against MMIC unless, as a condition precedent, thereto, there
       shall have been full compliance with all of the terms of this Policy, not until the
       amount of an insured's obligation to pay shall have been finally determined either
       by final judgment after expiration or period for appeal against such insured after
       actual trial or by written agreement of the insured, the Claimant and MMIC. Any
       person or organization or the legal representative thereof who has secured such
       judgment or written agreement shall thereafter be entitled to recover under this
       Policy to the extent ofthe insurance afforded by the Policy.
MMIC argues in support of its Motion to Dismiss that the liability policies specifically provide
that MMIC will not be obligated to indemnify Plaintiffs if they voluntarily settle claims without
MMIC's consent. MMIC argues that under the plain language ofthe policies, and absent MMIC's
consent to a settlement, MMIC's duty to hidemnify is conditioned upon Plahitiffs obtainmg a final
judgment after an "actual trial" which, they argue. Plaintiffs failed to do hi this case.

        Plaintiffs contend that MMCI waived its right to enforce the "cooperation,""no voluntary
payments," and "no action" clauses because MMCI: 1) breached its duty to defend; 2) breached
its duty to settle in good faith; and 3)defended subject to a reservation of rights.



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   I.      Waiver of"No Action" and "No Voluntary Payments" Clause by Breaching
           Contractual Duty to Defend

           A. Legal Overview

        While ordmarily the insured is barred by the "cooperation,""no voluntary payments," and
"no action" clauses from settling without the insmer's consent, courts have almost universally held
that an insurer is precluded from relying on these provisions ifthe insurer commits a prior material
breach of one of its contractual defense obligations. Great Divide Ins. Co. v. Carpenter ex rel.
Reed, 79 P.3d 599, 608 (Alaska 2003)("Our case law permits an insured whose insurer has
committed a material breach of one of its defense obligations to enter into a settlement agreement
with the injured claimant."); see also Safeco Ins. Co. v. Superior Court, 71 Cal.App.4th 782, 787
(Cal. Ct. App. 1999)("[I]fthe insurer wrongfully refuses to defend, leaving the insured to his own
resources to provide a defense, then the insurer forfeits the right to control settlement and defense.
In that event, the insured is free to settle the lawsuit on his own, and the insurer is bound by a
stipulated judgment."); Butler Bros. v. Am. Fidelity Co., 139 N.W. 355, 358 (Minn. 1913)
("Undoubtedly the insured may waive the condition requiring a trial ofthe issue, and the authorities
are practically unanimous in holding that a denial of liability and refusal to take the defense is a
waiver of this condition."); c.f. Piedmont Office Realty Trust, Inc. v. XL Specialty Ins. Co., 771
S.E.2d 864, 867(Ga. 2015) ("Although an insurer that denies coverage and refuses to defend an
action against its insured waives the provisions of the policy against a settlement by the insured
and becomes bound to pay the amount of any settlement (within a policy's limits) made in good
faith, XL did not wholly abandon Piedmont—it did not refuse the cover the underlying claim.").
Thus, if an insurer unjustifiably refuses to defend or makes an unwarranted withdrawal from the
defense of suit, the insured may proceed alone and make any good faith settlement ofthe claims
against it and the insurer may not use the "no action" or "no voluntary payments" clause to defeat
recovery against it. MilbankMut. Ins. Co. v. Wentz, 352 F.2d 592, 600(8th Cir. 1965)(applying
North Dakota law).

        In WolffV. Royal Ins. Co., 472 N.W.2d 233 (S.D. 1991), the South Dakota Supreme Court
appeared to recognize that despite policy provisions prohibiting settlement without insurer
consent, an insured may settle rather than proceed to trial if an insurer breaches its duty to defend.
Although the parties in that case agreed to apply Nebraska substantive law, the court in Wolff,


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citing to a case arising firom the Second Circuit Court of Appeals and American Jurisprudence
(Second) on Insurance stated that:

       As a general rule^ when an insurer declines coverage, an insured may settle rather
       than proceed to trial to determine its legal liability. Luria Bros. & Co. v. Alliance
       Assur. Co., Ltd., 780 F.2d 1082, 1091 (2d Cir. 1986)). However,the amount must
       be reasonable in view ofthe size of possible recovery and degree of probability of
       claimant's success against the insured. Id. The insurer's denial of coverage must
       be unjustified before policy provisions such as a cooperative clause, are considered
       waived. Id. (citing 44 Am.Jur.2d/mwrawce §1421).

WolffV. Royal Ins. Co., 472 N.W.2d 233,235 (S.D. 1991).
       Both Avera and LCSH have alleged claims for breach oftheir contractual duties to defend.
In Counts 1 and 2 ofthe Amended Complaint,Plaintiffs allege that MMIC breached its contractual
duty to defend and indemnify Avera and that MMIC breached its duties when it conditioned
indemnification upon release of Avera's bad faith claims against MMIC. (Doc.44,1^128-29,142-
43). Plaintiffs allege that because of MMICs breaches, Plaintiffs had no choice but to enter into
a settlement agreement to resolve the Sossan Lawsuits without any cooperation or contribution
from MMIC. (Doc. 44,1130). Plaintiffs allege that they were forced to pay for the cost of the
Sossan Settlement without the help or participation ofMMIC and that as a result ofMMICs breach
of its duties under the Policy, Plaintiffs are entitled to the amounts paid to resolve the Sossan
Lawsuits and attorneys' fees. (Doc. 44,      132-33; 140-46).

        An insurer's duties to defend and indemnify are "contractual dut[ies] arising out of the
terms ofa liability insurance policy." Litz v. State Farm Fire & Cas. Co.,695 A.2d 566,569(Md.
1997); see also Meadowbrook, Inc. v. Tower Ins. Co, 559 N.W.2d 411, 415 (Minn. 1997)("An
insurer's duty to defend an insured is contractual."); Farr v. Farm Bureau Ins. Co. ofNeb.,61 F.3d
677,679(8th Cir. 1995)("The nature ofthe duty to defend is defined by the insurance policy as a
contract.")(Nebraska law); 14 Couch on Insurance § 200:5 (2003)(collecting cases). However,
"[a]n insurer's duty to defend is distinct from—and broader than—its duty to indemnify." Geidel
V. De SmetFarm Mutual Ins. Co. ofS.D., 926 N.W.2d 478, 481 (S.D. 2019). One distinguishing
feature is the fact "[t]he duty to defend arises prior to the completion of litigation[.]" Id. (quoting
14 Steven Plitt et al.. Couch on Insurance, § 200:3(3d ed.)). "[TJherefore insurers are required to
meet their defense obligation before the scope ofthe insured's liability has been determined." Id.



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       Under South Dakota law, an insurer's duty to defend is activated "[i]f it at least 'arguably
appears from the face of the pleadings in the action against the insured that the alleged claim, if
true, falls within policy coverage.   Geidel v. De Smet Farm MutualIns. Co. ofS.D.,926 N.W.2d
478, 481 (S.D. 2019)(citing Hawkeye-Sec. Inc. v. Clifford ex rel. Clifford, 366 N.W.2d 489,491'
(S.D. 1985)). A duty to defend "prevails notwithstanding that ambiguous language reveals other
claims not covered in the policy, and even though extraneous facts indicate the claim is false,
grovmdless, or even fraudulent." Id. (quoting Hawkeye-Sec. Inc., 926 N.W.2d at 491); see also
Couch on Insurance Third Edition § 200:1 (3d ed.)(last updated June 2021)("Typically, even if
only one claim in a complaint containing multiple claims could be covered,the insurer must defend
the entire action and the insurer must demonstrate that all the claims of the suit fall outside the

policy's coverage to avoid defending the insured.").

       The insurer must establish there is no duty to defend by showing that the claim clearly falls
outside of policy coverage. GeiJe/, 926N.W.2dat481. Id. However,"[i]f, after considering the
complaint, and when appropriate, other record evidence, doubt exists whether the claim against
the insured arguably falls within policy coverage, such doubts must be resolved in favor of the
insured." Id. (quoting Hawkeye-Sec., 366 N.W.2d at 492). "This is especially applicable where
those doubts exist pre-trial." Id.

       The Sossan Lawsuits included claims that were covered and not covered under the terms

ofPlaintiffs' insurance policies. Avera and LCSH's policies provide that coverage does not apply
to "any willful, fraudulent, dishonest, criminal or malicious act or omission, by or with the
knowledge or consent of, or at the direction of, any insured" and thus claims against Plaintiffs
alleging intentional and fraudulent conduct were excluded from coverage under the policies.
Claims against Avera and LCSH alleging negligent credentialing and supervision potentially fell
within coverage of the policies. MMCI had a duty to defend LCSH at the outset under the terms
of its policy and accepted LCSH's tender of defense under a reservation of rights to contest
coverage ofthis claim at a later date. Under the terms of Avera's policy with MMCI,MMCI had
a right, but not a duty to defend Avera until Avera exhausted its self-insured retention limits under
the policy.

       MMCI argues that under the language of Avera's Primary and Excess Policies, it had no
duty to defend Avera because Avera had not exhausted its self-insured retention limits under the

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language ofthe policies. With regard to LCSH,MMCI argues that it has failed to state a claim for
breach of duty to defend because MMCI agreed to defend LCSH subject to a reservation of rights
and agreed to contribute $2 million towards the global settlement ofthe Sossan Lawsuits. If MMCI
had no duty to defend Avera, and LCSH failed to state a claim for breach of a contractual duty to
defend,then unless other exceptions apply,Plaintiffs are not excused from complying with the "no
voluntary payments" and "no action" provisions.

             A. Did MMCI have a duty to defend Avera before Avera executed the agreement
                   settling the Sossan Lawsuits?

         Under Avera's policies, MMIC was to provide coverage up to $10 million for covered
losses after Avera exhausted its self-insured retention limits of$2 million per claim and $6 million
in the aggregate for the policy period. (Doc. 44,130). Avera alleges that it had previously paid
$4,129,363 in claims attributable to its 2014 self-insured retention aggregate limit of $6 million.
(Doc. 44,1 84). Avera alleges that during the mediation, it offered $1,870,637, thus meeting its
aggregate $6 million limit under the policy and thus triggering MMIC's duty to defend Avera up
to an additional $10 million under the umbrella/excess liability policy. (Doc.
                                                                          |    44, 86).

         MMIC disputes that its duty to defend Avera was triggered under the terms of the Policy.
MMIC argues that its duty to defend was contingent on Avera's exhaustion of its Policy limits by
"payment" oflosses, not by Avera's "offer" to pay certain losses. (Doc. 53 at 781-82).

         Avera's Primary Policy provides that MMIC "has the right, but not the duty to defend or
associate in the defense and control of any covered claim or suit made or brought against the
insured that is likely to involve MMIC." (Doc. 44-1 at 415). Avera's Excess Policy, however,
obligates MMIC to defend Avera "[w]ith respect only to insurance afforded by [the] Policy, if no
underlying insurance is available due to exhaustion of its Policy limits by payment oflosses, or if
no coverage is provided by underlying insurance." (Doc. 51-10 at 692)(emphasis added).^



^ In Avera's Excess liability Policy, MMCis duty to defend Is defined as follows:
         Defense

         This Policy does not apply to defense. Investigation, settlement, trial attendance, legal expenses
         or legal fees covered by underlying insurance. However, MMIC shall have the right to associate
         with the insured or the underlying insurance carrier in defense of any claim or proceeding for which

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       In this diversity jurisdiction case, South Dakota law governs the interpretation of the
liability pohcies in this case. See Secura Ins. v. Horizon Plumbing, Inc., 670 F.3d 857, 861 (8th
Cir. 2012). Under South Dakota law, courts must construe an insurance contract's language "with
reference to the policy as a whole and the plain meaning and effect of its words." Cornelius v.
Nat'l Gas. Co., 813 N.W.2d 167, 169(S.D. 2012). "If the rules of interpretation leave a genuine
uncertainty as to which oftwo or more meanings is correct, the policy is ambiguous." Id. (internal
quotations and citation omitted). "If the provisions of an insurance policy are ambiguous [the
Supreme Court of South Dakota applies] the rule ofliberal construction in favor ofthe insured and
strictly against the insurer." Id. at 170 (internal quotations and citation omitted). This approach,
however, does not mean that "the court may seek out a strained or unusual meaning for the benefit
ofthe insured." Id.


       "Under well-settled insurance principles, there are two levels of insurance coverage,
primary and excess. Primary coverage is insurance coverage whereby under the terms of the
policy, liability attaches immediately upon the happening of the occurrence that gives rise to
liability. 'Excess' or secondary coverage is coverage whereby, under the terms of the policy,
liability attaches only after a predetermined amount of primary coverage has been exhausted."
Travelers Indem. Co. v. Illinois v. Ins. Co. ofN. Am.,213 F.3d 643,2000 WL 278390,at *1-2(9th
Cir. 2000) (unpublished) (citing Reliance Nat'l Indemn. Co. v. Gen. Star Indem. Co., 85
Cal.Rptr.2d 627,634(Cal. Ct. App. 1999)); Kline v. Kemper Group, 826 F.Supp. 123,130(M.D.
Pa. 1993)(applying Pennsylvania law and noting that excess policy "does not come into play"
until primary coverage limit has been reached);Int'l Environmental Corp. v. Nat'l Union Fire Ins.
Co ofPittsburgh, 843 F.Supp. 1218, 1124 n.3 (N.D. 111. 1993)(applying Illinois law and noting,
"[gjenerally, excess policies supplement primary policies, kicking in when losses exceed primary
coverage."). An excess insurer generally has no duty to defend until all the primary insurance has


       coverage may be afforded by this Policy and to make such investigation relative to such claim or
       proceeding as it deems expedient.

       With respect only to insurance afforded by this Policy, if no underlying insurance is available due
       to exhaustion ojits Policy limits by payment of losses, or if no coverage is provided by underlying
       insurance, MMIC shall have the right and the duty to defend any suit against the insured alleging
       such damages, even if any of the allegations of the suit are groundless, false or fraudulent, and
       may make such investigation or such settlement of any claim or suit as it deems expedient, but
       MMIC shall not be obligated to pay any claim or judgment or to defend any suit after the applicable
       limit of MMIC's liability has been exhausted by payment of Judgments or settlements.

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been exhausted. Travelers Indemn. Co ofIII., 2000 WL 278390 at *2; see also, e.g., ABT Bldg.
Prod. Corp. v. Nat'l Union Fire Ins. Co. of Pittsburgh, 472 F.3d 99, 135 (4th Cir. 2006) (J.
Niemeyer, dissenting)(stating that North Carolina courts have joined numerous otherjurisdictions
in holding that an excess insurer's duty to defend is triggered only when the limits,of primary
insurance have heen exhausted); Nat'l Elec. Mfrs. Ass'n v. Gulf Underwriters Ins. Co., 162 F.3d
821, 826(4th Cir. 1998)(holding that under District of Columbia law, an excess insurer's duty to
defend is not triggered until primary insurance is exhausted); Signal Co's v. Harbor Ins. Co., 612
P.2d 889, 802 (Cal. 1980) (holding that the excess insurer was not obligated to contribute to
defense costs which were incurred by the primary insurer before the primary insurer's coverage
was exhausted and before notification of the excess insurer that its participation in defending the
action was desired).

       Self-insured retentions are considered by courts to be equivalent to primary liability
insurance, and policies which are subject to self-insured retentions are considered the equivalent
of excess policies which generally include no duty to defend until the self-insured retention is
exhausted. See, e.g., Lasorte v. Those Certain Underwriters at Lloyd's Severally Subscribing to
Policy Numbers 11SNAP108111970 and 11SNAP109111970, 995 F.Supp.2d 1134, 1146 (D.
Mont. 2014)(stating that imder New York law, "[a] policy with a Self Insured Retention ... is
designed to absolve the insurer of any financial obligation, whether it falls under the duty to
indemnify or the duty to defend, until the SelfInsured Retention is exhausted. It acts like an excess
policy where the insured acts as its own primary insurer."); Travelers Indem. Co. v. Illinois v. Ins.
Co. ofN Am., 213 F.3d 643, 2000 WL 278390 at *2(9th Cir. 2000)(unpublished)("It is well-
recognized that self-insurance retentions are the equivalent to primary liability insurance, and that
policies which are subject to self-insured retentions are 'excess policies' winch have no duty to
indemnify until the self-insured retention is exhausted.")(quoting Pacific Employers Ins. Co. v.
Domino's Pizza, Inc., 144 F.3d 1270,1276-77(Cal. 1998)); Boston Gas Co. v. Century Indemnity
Co., 910 N.E.2d 290, 294 n.7 (Mass. 2009)("Excess . . . insuranee over a qualified purely self-
insured retention of risk would not be considered 'primary'; the self-insuranee itself is the
'primary' layer. The excess policies[issued]in this case provided the first layer ofexcess eoverage
over [insured] primary layer of self-insurance.").




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         Although the South Dakota Supreme Court has not examined whether an insured must first
exhaust self-insured retention limits before an insurer's duty to defend arises,the court has required
a non-owners automobile liability policy to be exhausted before looking to the umbrella policy.
See Nat'I Farmers Union Property & Cas. Co. v. Farm & City Ins. Co., 689 N.W.2d 619, 622
(S.D. 2004)(stating that the court adopts the rule followed by a majority of courts in this country
requiring a non-owner's liability policy to be exhausted before looking to the umbrella policy).
Given the fact that the South Dakota Supreme Court has required exhaustion of a non-owners
automobile liability policy before an umbrella policy applies, the language of Avera's insurance
policy conditioning a duty to defend on "exhaustion of policy limits by payment of losses," and
the South Dakota Supreme Court's emphasis on the duty to defend being defined by the contract,
this Court predicts that the South Dakota Supreme Court would enforce the policy language
requiring Avera to exhaust it self-insured retention limits before MMIC's duty to defend under its
excess policy is activated. The question remaining, however,is whether under the language ofthe
policies, Avera exhausted its self-insured retention limits.

         Avera's excess policy provides that "if no underlying insurance is available due to
exhaustion ofits Policy limits by payment oflosses, or if no coverage is provided by underlying
insurance, MMCI shall have the right and duty to defend any suit against the insured alleging such
damages... ." There are no South Dakota cases that have analyzed the requirement in an excess
liability policy that a primary insurer "exhaust" underlying policy limits "by payment of losses."
Courts in otherjurisdictions that have analyzed similar language in an excess/iunbrella policy have
concluded that such language requires, at a minimum,^ that"the claims aggregating the full amount
ofthe specific policy have been settled thereunder and full liability ofthe insurer discharged." See
Waste Mgmt ofM.N., Inc. v. Transcontinental Ins. Co., 502 F.3d 769, 773 (8th Cir. 2007)("[A]n
insurance policy is exhausted when the insured proves that claims aggregating the full amount of


^ Other courts have interpreted language In an excess liability policy requiring "exhaustion by payment of losses" to
mean that the underlying liability limits be actually paid. See, e.g., AH v. Fed. Ins. Co., 719 F.3d 83, 92-94 (2d CIr.
2013) (finding that the excess Insurer's liability was not triggered because there no evidence showing that the
primary Insurer actually paid the policy's limits); Trinity Homes LLC v. Ohio Casualty ins. Co., 629 F.3d 653, 658 (7th
CIr. 2010)(holding that the excess liability policy was exhausted when an Insured and the primary Insurer entered
Into a settlement agreement where the primary Insurer paid a large percentage of the total limit and the Insured
paid the remainder); KB Home Jacksonviiie LLC v. Liberty Mutual Fire ins. Co., Civ. No. 18-0371, 2019 WL 4247269, at
*8(M.D. Fla. Sept. 5, 2019)("Offering the policy limits, or even being legally obligated to pay the policy limits at a
later date. Is simply not synonymous with 'payment of judgments or settlements.''To hold otherwise would make
the 'payment of language In [the Policies] superfluous.").

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the specific policy have been settled thereunder and full liability of the insurer discharged.")
(quoting Reliance Ins. Co. in Liquidation v. Chitwood,433 F.3d 660,664(8th Cir. 2006)(applying
Missouri law)); Zeigv. Mass. Bonding & Ins. Co, 23 F.2d 665, 666 (2d Cir. 1928)("The claims
are paid to the full amount of the policies, if they are settled and discharged, and the primary
insurance is thereby exhausted."); Qualcomm,Inc. v. Certain Underwriters at Lloyd's, London,73
Cal.Rptr.3d 770, 778(Gal. Ct. App. 2008)(stating that CGL policy was exhausted Only after "the
insurers under each of the Underlying policies have paid or have been held liable to pay the full
amoimt ofthe Underlying Limit of Liability.").

       In the frequently cited Zieg v. Massachusetts Bonding & Ins. Co., 23 F.2d 665 (2d Cir.
1928) case, the Second Circuit Court of Appeals examined whether the excess policy in that case
applied even though the insured settled the primary claims for less than their value. In that case,
Manhattan dressmaker Louis Zeig had purchased property insurance totaling $15,000 in coverage,
plus an excess policy that attached after the primary insurance was "exhausted in the payment of
claims to the full amount ofthe expressed limits." Id. at 666. In a subsequent burglary, Zeig lost
more than $15,000 in property. He initially filed claims for $15,000 with the primary insurance
providers, but ultimately settled those claims for $6,000. Id. Because the losses from the burglary
were greater than $15,000, however, Zeig, also filed a claim under the excess policy, attempting
to recover his losses in excess of$15,000. The insurer had argued that its duty to indemnify under
the excess policy was not triggered because the policy required actual payment of $15,000 as a
condition precedent to liability. Id.

       The Second Circuit in Zeig disagreed with the insurer. The court said that "[i]t is doubtless
true that the parties could impose such a condition precedent to liability upon the policy, if they
chose to do so[,]" but found that;

       Nothing is said about the 'collection' of the full amount of the primary insurance.
       The clause provides only that it be 'exhausted in the payment of claims to the full
       amount of the expressed limits.' The claims are paid to the full amount of the
       policies, if they are settled and discharged, and the primary insurance is thereby
       exhausted. There is no need ofinterpreting the word 'payment' as only relating to
       paying in cash. It often is used as meaning the satisfaction of a claim by
       compromise, or in other ways. To render the policy in suit applicable, claims had
       to be and were satisfied and paid to the full limit ofthe primary policies. Only such
       portion of the loss as exceeded, not the cash settlement, but the limits of these
       policies, is covered by the excess policy.

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Id. Fxjrthermore, the court stated that:

       [T]he [insurer] had no rational interest in whether the insured collected the full
       amount of the primary policies, so long as it was only called upon to pay such
       portion of the loss as was in excess of the limits of those policies. To require an
       absolute collection of the primary insurance to its full limit would in many, if not
       most,cases involve delay,promote litigation, and prevent an adjustment ofdisputes
        which is both convenient and commendable.

Id. The court concluded that "[t]he plaintiff should have been allowed to prove the amount ofthis
loss, and, ifthat loss was greater than the amount ofthe expressed limits ofthe primary insurance,
he was entitled to recover the excess to the extent ofthe policy in suit." Id.

       The Court also finds instructive the District of Montana's decision in Lasorte v. Those
Certain Underwriters at Lloyd's Severally Subscribing to Policy Numbers 115NAP108111970 and
115NAP109111970,995 F.Supp.2d 1134(D. Mont. 2014). InlasortQ, the plaintiff filed a sexual
discrimination and retaliation suit against her employer. Id. at 1136. At the time, the employer
was insured under an Employment Practices Insurance Policy which contained a self-insured
retention provision that required the insured to act as its own insurer for the first $25,000 in costs
associated with a claim. Id. The employer notified the insurer of the claim and retained defense
counsel. Id. The insurer responded with a letter to the employer acknowledging the claim was
covered by the policy and expressing approval ofthe employer's choice of counsel. Id.

       The employer in Lasorte resolved the discrimination suit by entering into a stipulated
judgment in favor of the employee for $210,000, an assignment of claims, and a covenant not to
execute. Id. at 1137. The insurer refused to indemnify the employer for the stipulated judgment,
claiming its duty to pay any loss amount under the policy was never triggered because the,
employer, by failing to pay $25,000 toward the judgment or for defense costs, failed to exhaust
the self-insured retention. Id. The provision in the policy provided that:

       When a Claim is made solely against a client Company the Client company Any
       One Insured Event amount [the Self Insured Retention], as shown in the
       Declarations, shall apply first, when exhausted the Client company Each Insured
       Event amount, as shown in the Declarations, shall apply subject to the LIMIT of
       LIABILITY.

Id. at 1142. The insurer's argued that the phrase "when exhausted" meant that the insured must
actually pay out the $25,000 amount of the self-insured retention for it to be exhausted. Id. The
court recognized that "self-insurance retentions are the equivalent to primary liability insurance,

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and that policies which are subject to self-insured retentions are excess policies which have no
duty to indemnify until the self-insured retention is exhausted." Id. at 1140. However,relying on
Zeig, the court held that the phrase "when exhausted" was ambiguous and as such, should be
construed against the insurer to include settlement by compromise. Id. at 1144.

         The policy language in Lasorte provided that the insurer will pay all qualifying "Loss
amounts" the insured is legally obligated to pay, subject to the self-insured retention and Limits of
Liability sections of the policy. Id. at 1141. The court foimd that the plain meaning of these
provisions was that the insurer was obligated to pay on behalf of the Insured the loss amount the
insured is legally obligated to pay, to the extent the loss amount is in excess of the Self-Insured
Retention. Id. at 1144. The court found that under the policy language.

       The insurer's obligation to pay loss amount arose . .. when the Insured Employer
       became legally obligated to pay a loss amount in excess of$25,000. That occurred
       when the Employer settled the Plaintiffs claims against it by entering into the
       stipulated judgment in the underlying litigation.
Id.


       The court in Lasorte also addressed the insured's argument that the insurer's duty to defend
was triggered at the initiation of the underlying litigation. Id. at 1145. The court rejected the
insured's argument, reasoning:

       A policy with a SelfInsured Retention... is designed to absolve the insurer of any
       financial obligation, whether it falls under the duty to indemnify or the duty to
       defend, until the Self Insured Retention is exhausted. It acts like an excess policy
       where the insured acts as its own primary insurer. The primary insurer has the duty
       to defend prior to exhaustion ofthe primary insurance, which in this case is the Self
       Insured Retention. "The word 'primary is used ... in the field of excess insurance
       to distinguish coverage which attaches immediately upon the happening of an
       occurrence, from excess coverage, which attached only after a predetermined
       amount of'primary' coverage has been exhausted." "Although an excess insurance
       carrier may elect to participate in an insured's defense to protect its interest, it has
       no obligation to do so." The intention behind a Self Insured Retention is for the
       insurer to have no financial exposure for amounts below the SelfInsured Retention.
       In return, the policyholder pays a reduced premium. The risk to the carrier in opting
       out of controlling the defense is that it will find itself obligated to pay under other,
       policy provisions. Imposing a duty to defend on the Insurer prior to exhaustion of
       the Self Insured Retention would transform the Self Insured Retention into a
       deductible and defeat the parties' intention with regard to the Self Insured
       Retention.



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Id. at 1146.


        As stated above, while ordinarily the insured is barred by the "cooperation,""no voluntary
payment," and "no action" clauses from settling without the insurer's consent under South Dakota
law, an insurer is precluded from relying on these contractual clauses as a defense to liability for
an insured's voluntary settlement if the insurer commits a prior breach of its contractual duty to
defend. Under the terms of Avera's policies with MMCI,MMCI had the right, but not the duty to
defend Avera until Avera "exhausted [its] policy limits by payment of losses." Avera's policy
does not define either the term "exhausted" or the phrase "payment oflosses." However, as stated
above, courts have interpreted similar language to mean that an insurer's duty to defend does not
arise under an excess/umbrella policy until either the primary insurer (in this case Avera) settled
and was fully discharged of liability,^ or until Avera, as primary insurer, actually paid the claims
or losses. Because it was not possible for either ofthese conditions to occur prior to Avera settling
the Sossan Lawsuits, MMCI did not have a duty to defend Avera prior to Avera's settlement of
the Sossan Lawsuits and thus ,cannot be liable for breaching any such duty. Because MMCI did
not breach a duty to defend Avera prior to Avera's settlement ofthe Sossan Lawsuits, MMIC did
not waive its rights to enforce the "no action" and "no voluntary payments provisions" under
Avera's policy unless another exception excusing compliance with these contractual provisions
applies."^

             A. Does LCSH state a claim for breach of duty to defend?

        LCSH's policy provides that "MMIC shall have the right and duty to defend any suit
against the insured" alleging damages arising out of the performance of medical professional
services rendered or which should have been rendered on or after the policy period and occurring
within the coverage territory. MMCI had a duty to defend LCSH at the outset under the terms of



® In Zieg, the court found that the insured had exhausted its underlying insurance policy when the claims were
"settled and discharged, and the primary insurance is thereby exhausted." 23 F.2d at 666. In Lasorte, the court
found exhaustion of the underlying policy when the insured settled the claims against it by entering into the
stipulated judgment in the underlying litigation. 995 F.Supp.2d at 1144.

 The Court also notes that similar to the policy in Lasorte, Avera's policy conditions MMCI's duty to indemnify on
sums that Avera became "legally obligated to pay as damages" in excess of its self insured retention limits. Avera
did not become "legally obligated to pay" damages for the Sossan Lawsuits until it executed the global settlement
agreement settling the Sossan Lawsuits.

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its liability policy and MMCI accepted LCSH's tender of defense under a reservation of rights to
contest coverage at a later time.

       Unlike Avera's policy, under LCSH's liability policies, MMCI had a duty to defend LCSH
from the outset and could therefore be liable for breach of such duty thereby waiving its rights to
enforce the "no voluntary payments" and "no action" provisions. However, MMIC argues that
LCSH has failed to state a claim that MMIC breached any duty to defend. Specifically, MMIC
argues that:

       While LCSH alleges MMIC breached the duty to defend, it does not allege (nor
       could it allege) that MMIC failed to provide them with a defense. And the
       Amended Complaint alleges no other conduct that could constitute a breach ofthe
       duty to defend. All alleged conduct relates to the settlement negotiations and
       MMCI's alleged failure to settle the case and/or indemnify LCSH for the settlement
       payment.



       Avera and LCSH allege MMIC refused to settle at the amount they requested and
       MMIC conditioned its $2 million offer on a release of bad faith claims. These
       allegations do not meet the requirements of a breach of duty to defend claim or an
       improper defense claim.
(Doc. 50 at 561-63).

       This Court concludes that under the facts alleged, a reasonable inference can be made that
MMCI abandoned its defense of LCSH. Instructive on this issue in the South Dakota Supreme
Court's decision in Church Mutual Ins. Co. v. Smith, 509 N.W.2d 274 (S.D. 1993). In Church
Mutual, an excess insurer sued a primary insurer to recover attorney's fees it incurred m
performing its secondary duty to defend its insureds from the time that the primary insurer was
notified ofthe lawsuit against the insureds to the time that it actively began defending the insureds.
Although the primary insurer initially denied coverage, it eventually agreed to provide counsel
subject to a reservation of rights. The primary insurer filed a declaratory judgment action asking
the court to determine whether coverage existed for the insureds. Id. 31215. The coimsel retained
by the primary insurer while the declaratory judgment action was being decided by the courts did
not actively participate in defense of the insureds whose underlying case was being litigated. Id.
at 276. The trial court, however, held that there was no evidence that the insurer's participation
was inadequate and found that the insurer had retained covmsel who reviewed depositions and kept

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abreast ofthe case in order to be prepared to take over the insured's defense ifthe court decided it
was the primary insurer. Id.

         On appeal, the South Dakota Supreme Court stated that even though the primary insurer
had tendered a defense subject to a reservation of rights, it found that under the facts of the case,
the primary insurer had violated its duty to defend. Id. at 216. The court noted that although it
agreed to provide counsel subject to a reservation of rights, covmsel was not actually hired to
represent the insured, but to step in and defend ifthe court ultimately found that the insureds were
covered under the policy. Id. The court said that "[w]e see no real difference between a primary
carrier who refuses to defend and one who agrees to defend but does not actually do so." Id. The
court also fovmd that hiring "trial counsel" for the carrier's benefit did not provide a defense to the
insured. Id.


         In ruling on a Motion to Dismiss, the Court is required to accept as true all factual
allegations in the Amended Complaint and make all reasonable inferences in favor of Plaintiffs.
In doing so, the Court concludes that under the facts alleged, which include MMCI's alleged
withdrawal from settlement negotiations, a reasonable inference can be made that MMIC
abandoned its defense of LCSH. Because a factual question exists as to whether MMIC breached
its duty to defend LCSH prior to its settlement of the Sossan Lawsuits, the Motion to Dismiss is
denied with regard to Plaintiff LCSH. See Weitzel v. Siovx Valley Heart Partners, 714 N.W.2d
884, 894(S.D. 2006)("Whether a contract has heen breached is a pure question of act for the trier
offact to resolve."). Accordingly,this Court declines to dismiss LCSH's claims for breach of duty
to defend and for breach of duty to indemnify.

    n.      Waiver of"No Action" and "No Voluntary Payments" Clause by Breaching
            Implied Duty to Settle in Good Faith

         Plaintiffs also argue that MMCI waived its rights under the "no voluntary payments" and
"no action" provisions by breaching its duty to settle in good faith. Some jurisdictions have held
that an insured may settle without the consent ofthe insurer despite the presence ofa"no voluntary
payments" and "no action" provision in the policy if an insurer breaches its duty to settle in good
faith. The South Dakota Supreme Court has not yet had an opportunity to examine this issue.

         South Dakota recognizes a cause of action in tort for a breach ofthe duty to settle in good
faith. Zochert v. Protective Life Ins. Co., 921 N.W.2d 479, 490 (S.D. 2018)(citing Trouten v.

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Heritage Mut. Ins. Co., 632 N.W.2d 856, 862 (S.D. 2001)) (stating that although it has,
"consistently refused to recognize an independent tort action for the breach ofthe implied covenant
of good faith and fair dealing[,]" ... an exception exists in the context of an insurance contract
where a violation of the implied contractual provision constitutes the independent tort of bad
faith."). Id. Although the duty of good faith and fair dealing has its origins in contract. South
Dakota courts have held that the duty to settle in good faith soxmds in tort because ofthe fiduciary-
like relationship that exists in a third-party coverage situation such as this. See Bertleson v. Allstate
Ins. Co., 796 N.W.2d 685, 700 (S.D. 2011)(stating that in third-party coverage situations, the
relationship of an insurer to its insured is like that of a fiduciary because the insurer must give as
much consideration to its insured's interests as it does its own); Matter of Certification of a
Question ofLawfrom the United States district Court, District ofSouth Dakota, Western Division,
399 N.W.2d 320,322(S.D. 1987)("The better rule is that an insurer's violation ofits duty ofgood
faith and fair dealing constitutes a tort, even though it is also a breach of contract.")(quoting 16A
J.A. Appleman & J. Appleman,Insurance Law and Practice § 8878.15, at 422024(1981)); Weeg
V. Iowa Mutual Ins. Co., 141 N.W.2d 913, 916(S.D. 1966)(stating that a contract "may establish
a relationship demanding the exercise of proper care and acts and omissions in performance may
give rise to a tort liability"). "It is the existence of this fiduciary relationship between insurer and
insured, aside from insurer's subsisting implied covenant of good faith and fair dealing under the
insurance policy, that exposes an insurer to tort liability for failing to exercise good faith in
evaluating and negotiating third-party claims against an insured." Zurich Am. Ins. Co. v. Fluor
Corp., Civ. No. 4:16-0429,2019 WL 4750459 at *6(E.D. Mo. Sept. 30,2019).

        In South Dakota,an insurer commits third-party bad faith when it breaches "its duty to give
equal consideration to the interests of its insured when making a decision to settle a case brought
against it by a third party." Bertelsen v. Allstate Ins. Co., 796 N.W.2d 685, 700 (S.D. 2011).
"Sometimes the duty to exercise good faith and give equal consideration is expressed by telling
the jury "that in making the decision whether to settle or try a case, the insurer must in good faith
view the situation as it would if there were no policy limits applicable to the claim." Kunkel v.
United Sec. Ins. Co. ofN.J, 168 N.W.2d 723, 727 (S.D. 1969). Whether or not an insurer has
adhered to the standard of good faith usually depends upon circumstances and elements involved
in a particular case. Id. "The decision to settle must be thoroughly honest, intelligent," and
impersonal. It must be a realistic decision tested by the expertise which an insurer necessarily
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assumed under the terms ofits policy." Id. "[T]he character and extent ofthe insurer's negligence
are [also] factors to be considered hy the trier of fact in determining if there is bad faith." Id.
Where the insurer recognizes liability and the probability of a verdict in excess of policy limits
circumstances constituting a failure to exercise good faith may weigh in favor of an insured." Id.

       MMIC argues in its Motion to Dismiss that although South Dakota recognizes a cause of
action for a breach of duty to settle in good faith,there is no authority under South Dakota law that
bad faith on the part of the insurer would relieve Plaintiffs from their obligations under the "no
action" and "no voluntary payments" clauses. Plaintiffs have also each alleged a claim for breach
of duty to settle in good faith. MMIC argues that Plaintiffs have failed to state a claim for had
faith because MMIC contends that ajudgment in excess of liability limits is an element of such a
claim under South Dakota law.


       A.      Under South Dakota law, would au insurer's breach of the duty to settle in
               good faith relieve au insured from its obligations under the "no action" and
               "no voluntary payments" clauses of an insurance policy?
       As discussed above, courts almost universally allow an insured to voluntarily settle with a
third party despite a "no action" or "no voluntary payment" provision in an insurance contract
when an insurer has breached its contractual duty to defend. The general idea is that hy committing
a prior material breach of the contract, the insured has waived any of the insured's preconditions
to performance.

       The majority of courts that have considered this question have held that the breach of the
duty to settle in good faith, even though it is implied and not an express duty like the duty to
defend, also excuses the insured from compliance with the cooperation clause. In such
circumstances, an insured may enforce a settlement against the insurers if reasonable and made in
good faith. Nat'I Union Fire Ins. Co.,673 F.Supp. 267,274(N.D. 111. 1987)("[A]ll the courts that
have considered the question have allowed insureds (1) to effect reasonable settlements on their
ovm after their insurers have breached their duty to settle and (2) to enforce those settlements
against the insurers if reasonable and made in good faith."). The idea behind this exception is that
if an insurer has violated a duty to settle in good faith,"the insurer cannot escape liability merely
because the insured has taken control of the defense and settled the case in a manner that, except
for the insurer's material breach, would violate the cooperation clause or other terms of the
insurance contract." Great Divide Ins. Co. v. Carpenter,19 P.3d 599,610(Alaska 2003);see also
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N. Am. Van Lines v. Lexington Ins. Co., 678 So.2d 1325, 1333 (Fla. Dist. Ct. App. 1996)(stating
that if an insurer arbitrarily rejected a reasonable settlement, it has breached it policy provisions,
thus entitling the insured to settle the case and seek reimbursement "because the insured has paid
an obligation for which the insurers should have been liable bad they not breached the contract.").
"To bold otherwise would mean, as a matter of law, that an insurer would automatically be
insulated from a violation of a good faith duty to settle, regardless of the breach, if only because
of a rule that the contractual duty to cooperate was violated by the insured." Weber v. Indemnity
Ins. Co. ofN. Am., 345 F.Supp.2d 1139, 1145 (D. Haw. 2004)(discussing Carpenter, 79 P.3d
599); see also Traders & General Ins. Co. v. Rudco Oil & Gas Co., 129 F.2d 621 (lOtb Cir. 1942)
("[Bjefore [the insurers] may interpose the volxmtary settlement made by [the insured] as a bar to
recovery upon the policy, it must... appear that it acted in good faith and dealt fairly with the
assured."); Crawfordv. Inifinity Ins. Co., 139 F.Supp.2d 1226, 1230-31 (D. Wyo. 2001), aff'd, 64
F.App'x 146 (lOtb Cir. 2003)(stating that an insurer's bad faith may relieve an insured of bis or
her obligations under the insurance contract); Fireman's Fund Ins. Co. v. Sec. Ins. Co., ?>61 A.2d
864, 869 (N.J. 1976)("The breach of an insurer's covenant [to act in good faith], whether it be
express or implied, leaves the insured free, despite the limiting policy provisions, to protect his
own interest in minimizing a potential liability in excess of the policy limits by agreeing to a
reasonable good faith settlement of the negligence actions and then, on proof of the insurer's
default,to recover from it the amount ofits policy hmits."); Hyatt Corp. v. Occidental Fire & Cas.
Co. ofN.C., 801 S.W.2d 382, 389(Mo. Ct. App. 1990)(citing               Union Fire Ins. c. Cont'l Fl
Corp.,673 F.Supp. 267(N.D.111. 1987)("Where an insurer breaches its good faith duty to consider
offers of settlement, the insured may effect reasonable good faith settlements on its own and
enforce such settlements against the insurer."); Isadore Rosen & Sons, Inc. v. Security Mut. Ins.
Co., 291 N.E.2d 380,382(N.Y. App. Div. 1972)(stating that insurer's duty of good faith "may he
breached by neglect and failure to act protectively when the insured is compelled to make
settlement at his peril; and unreasonable delay by the insurer, in dealing with a claim, may be one
form of refusal to perform which could justify settlement by the insured."); Allan D. Windt,
Insurance Claims and Disputes § 3:11 (6th ed.)(updated Mar. 2020)(stating that in insured is not
bound by contractual obligations ifthe insurer breaches its duty to act reasonably and diligently to
safeguard the insured's interest during settlement of a dispute in which the insured is or could be
sued).


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       Citing to some ofits prior precedent,the Arizona Supreme Court in State Farm Mut. Auto.
Ins. Co. V. Peaton provided that:
       As a general piatter, insurance carriers owe their insureds three duties, two express
       and one implied. These are duties to indemnify,the duty to defend, and the duty to
       treat settlement proposals vrith equal consideration. Any breach, actual or
       anticipatory, of these duties deprives the insured of the security that he has
       purchased because the breach leaves him exposed to personaljudgment and damage
       which may not be covered or may exceed the policy limits. Accordingly, when
       such a breach occurs, the insured is generally held to be freed from his obligations
       under the cooperation clause... No other rule is sensible. The insured exposed by
       his insurer "to the sharp thrust of personal liability ... need not indulge in financial
       masochism...

812 P.2d 1002, 1010-11 (Ariz. 1990). The court explicitly rejected the insurer's argument that
only breaches of the duty to indemnify and defend (both express provisions of the policy) can
trigger the insured's authority to settle with a claimant before trial. Id. at 1012. The court stated
that an insured will be excused &om compliance with the cooperation clause if it proves that the
insurer breached its duty to settle in good faith. See Peaton, 812 P.2d at 1013-14. Ultimately,
however, the court granted summary judgment in favor of the insurer because it found that the
insurer had not breached its implied duty to settle and concluded that the insurer's breach of the
cooperation clause relieved the insurer of any obligation under the policy. Id.
       In Nunn v. Mid-Century Ins. Co.,the Supreme Court of Colorado held that when an insurer
has exclusive control over the defense and settlement of claims pursuant to the insurance contract,
and has acted unreasonably by refusing a settlement offer that would avoid any possibihty of
excess liability of its insured, the insured may take steps to protect itself from potential exposure
to such liability by entering into a pretrial stipulation agreement and assigning its bad faith claims
to the third party. 244 P.Sd 116,119(Colo. 2010){en band). The court, citing to its prior decision
in Old Republic, reasoned that:
       Under these circumstances, it is possible that the stipulated judgment '"may not
       actually represent an arm's length determination of the worth of the plaintiffs
       claim.'" Nevertheless, we have recognized that"[wjhere an insurer has wrongfully
       subjected its insured to an excess judgment, . . . the risk of collusion may be
       tolerable in light ofthe 'relative positions ofthe parties.'" Indeed, we have declined
       to hold pretrial stipulated judgment per se unenforceable because a stipulated
       judgment might be the insured's "only viable recourse against an insurer that has
       acted in bad faith." Accordingly, although we have held that a pretrial stipulated
       judgment cannot be enforced against an insurer in the absence of a determination
       of bad faith, we have explicitly left the door open for the enforceability of such a

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          judgment in the event that an insured or an assignee of the insured successfully
          litigates a claim of bad faith.

Id. at 120 (citing Old Republic Ins. Co. v. Ross, 180 P.3d 427,434(Colo. 2008){en banc)).
          As discussed above,the South Dakota Supreme Court has recognized that by breaching its
contractual duty to defend, an insurer waives its rights to enforce the "no voluntary payments,"
"cooperation," and "no action" clauses. This Court predicts that the South Dakota Supreme Court
would follow the majority rule and conclude that an insurer has waived its rights under the
"cooperation,""no voluntary payments" and "no action" provisions if the insured proves that the
insmer breached ofits duty to give equal consideration to the interests of its insured when settling
a case.



          B.      Do Plaintiffs state a claim for breach of duty to settle in good faith?

          Plaintiffs allege that MMIC committed bad faith in various ways,including by:

          • Considering its own interests at the expense of its insured and putting its own
               interests before those of its insureds;
          • Failing to negotiate and enter into a settlement in good faith within the policy
               limits of its insureds;
          • After actively soliciting mediation for several years, abruptly seeking to delay
            and postpone mediation when the opportunity finally presented itself in order
            to explore coverage issues more thoroughly and pursue a summary judgment
            ruling only on the specific claims it believed were covered under its policies
               issued to its insureds;
          • With the knowledge that it had a conflict of interest, prioritizing insurance
            coverage issues and its own interests and financial exposure over the liability
            interests and financial exposure of its insureds;
          • With the knowledge that it had a conflict ofinterest, intermingling the issues of
            coverage and liability, including communication and coordination between
            coverage counsel and liability counsel;
          • With knowledge that it had a conflict ofinterest, failing to assess, consider, and
               treat the liability and financial exposure of[each Plaintiff] separately from [each
               other];
          • Failing to defend and indemnify [Plaintiffs];
          • Conditioning its payment of liability coverage under the policy to settle the
               Sossan Lawsuits on [the Plaintiffs'] waiver of [their] bad faith claims against
               Defendant MMIC;
          • Failing to perform a fair investigation and fair evaluation ofthe claims.
(Doc. 44,t1fl59,171).




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       MMCI argues that Plaintiffs have failed to state a claim for bad faith under South Dakota
law. MMCI argues that it had no obligation to offer $2 million to settlement in the first instance
given the uncertainty regarding liability and the presence of covered and uncovered claims and
that as a result, MMIC's request for a release in exchange for the $2 million contribution cannot
form the basis ofa bad faith claim. (Doc. 50 at 567-68). MMIC also argues that because Plaintiffs
did not suffer ajudgment in excess ofliability, they have failed to state a claim for bad faith under
South Dakota law.


       1. Duty to settle in good faith

       MMCI argues that it has no duty to settle under the terms of the policies and no duty to
contribute $2 million to settlement. As a result, MMCI argues that it was not bad faith to, on the
second day of mediation, make its $2 million settlement contribution contingent on Plaintiffs'
waiver of bad faith claims against MMCI. It is true that there is no express duty without regard to
the facts to settle under Plaintiffs' liability policies. However, the South Dakota Supreme Court
has acknowledged that"A covenant is implied in an insurance contract that neither party will do
anything to injure the rights ofthe other in receiving the benefits ofthe agreement: This covenant
includes a duty to settle claims without litigation in appropriate cases." Helmboldt v. LeMars Mut.
Ins. Co., 404 N.W.2d 55, 57 (S.D. 1987)(quoting Kooyman v. Farm Bureau Mut. Ins. Co., 315
N.W.2d 30 (Iowa 1982)). This implied duty to settle claims in appropriate cases may include a
duty to make policy limits available for settlement. See N. River Ins. Co. v. St. Paul Fire & Marine
Ins. Co.,600 F.2d 721,724(8th Ch. 1979)(applying South Dakota law)("The insurance company
is not permitted to reject a settlement offer simply because it would require it to pay its policy
limits. Nor may it give consideration to its own financial interest at the expense of those of the
insured. And in evaluating a settlement offer made by a plaintiff the insurer must approach the
matter as though there were no policy limits and that it would be required to pay any sum that the
plaintiff would be likely to recover."); Crabb v. Nat'llndem. Co., 205 N.W.2d 633, 636-37(S.D.
1973)(recognizing a duty to settle within policy limits under certain circumstances); Kunkel v.
United Sec. Ins. Co. ofN.J, 168 N.W.2d 723,726-27(S.D. 1969)("Sometimes the duty to exercise
good faith and give equal consideration is expressed by telling thejury that in making the decision
whether to settle or try a case, the insurer must in good faith view the situation as it would if there
were no policy limits applicable to the claim."); see also W. Casualty & Surety Co. v. Herman,


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405 F.2d 121, 123 (8th Cir. 1968)(applying Missouri law)("Good faith requires the company to
make any settlement within the policy limits that an honest judgment and discretion dictates.");
Noonan v. Vermont Mut. Ins. Co., 761 F.Supp.2d 1330, 1333 (M.D. Fla. 2010)(stating that the
crux ofa bad faith claim is the self-serving delay caused by the insurer's failure to adjust the claim
in a timely manner, which exposes its insured to an excess judgment).

       In Helmbolt v. LeMars Mut. Ins. Co., Inc., a car driven by Hehnboldt crossed the center
line and collided with a vehicle driven by Olson, causing her severe personal injuries. 404 N.W.2d
55,56(S.D. 1987). Both Helmbolt and Olson carried automobile insurance policies with LeMars.
Id. Helmbolt's policy provided $50,000 in liability coverage per accident and Olson's policy
included $100,000 ofunderinsured motorist coverage which required LeMars to pay the difference
between the insurance available through the policy of the negligent party, and $100,000 which
amounted to $50,000. Id. The injured party's attorney attempted to settle the case for $100,000
which represented the limit on Helmbolt's policy and the additional $50,000 available through
Olson's underinsurance coverage. Id. However, LeMars refused to offer more than $50,000
without a waiver of Olson's right under their underinsurance provision, claiming nothing had to
be paid on Olson's policy until ajudgment in excess of$50,000 was entered against Helmbolt. Id.
The jury awarded a $160,000judgment in favor ofthe Olson's. Id. LeMars paid Olson's $50,000
on Helmbolt's policy and $50,000 on Olson's policy which left $60,000 on the judgment. Id.

        Subsequent to trial, Helmbolt agreed to pay Olson's $4,500 and to assign Olson's his bad
faith claim against LeMars. Id. Olson's filed a lawsuit alleging that LeMars failed to negotiate in
good faith within the pohcy limits. Id. In its review, court stated the implied covenant of good
faith and fair dealing includes "a duty to settle claims without litigation in appropriate cases." Id.
at 57. The court stated that "[i]t is settled that a finding of bad faith may be warranted on the
grounds that an insurance company did not pursue settlement negotiations with the same intensity,
interest and good faith it would have ifthere were no policy limits." Id. The court reiterated some
ofthe factors listed by the court in Kunkel that a factfinder may consider in its bad faith analysis.,
which include:


       (1)the strength ofthe injured claimant's case on the issues ofliability and damages;
       (2) attempts by the insurer to induce the insured to contribute to a settlement;(3)
       failure ofthe insurer to properly investigate the circumstances so as to ascertain &e

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       evidence against the insured;(4)the insurer's rejection ofadvice ofits own attorney
       or agent;(5)failure ofthe insurer to inform the insured of a compromise offer;(6)
       the amoxmt offinancial risk to which each party is exposed in the event of a refusal
       to settle; (7) the fault of the insured in inducing the insurer's rejection of the
       compromise offer by misleading it as to the facts; and(8)any other factors tending
       to establish or negate bad faith on the part ofthe insurer.

Id. (citing Kunkel, 168 N.W.2d at 727). Considering all the evidence in the record, the court in
Helmbolt found that issues regarding liability and damages were fairly certain and that LeMars
knew that Helmbolt would not have the finances to cover an excess judgment. Id. at 57-58. The
Court also noted that evidence showed that LeMars had evaluated the case to be worth $60,000 to
$80,000, but that it only offered to settle for $50,000, conditioned upon a release of Olson's
underinsured claim. Id. at 58. The court concluded that there was ample evidence ofLeMars' bad
faith and violation of its fiduciary relationship to one or both of its insureds to give "equal
consideration" to their interests. Id. As a result of LeMars' conduct, the court found that the
Olsons were "forced to endure the rigors and uncertainties of trial, and Helmbolt faced potential
personal responsibility for an excessjudgment—^which in fact occurred." Id. The court concluded
that LeMars ignored its duty of good faith for the purpose of protecting its own interest. Id.

       In Kunkel v. United Sec. Ins. Co. ofN.J, the plaintiff, Kunkel, drove his car into the rear
ofan automobile driven by Ronken and in a subsequent suit, Ronken recovered ajudgment against
Kunkel for $45,022.28 to his person and property. 168 N.W.2d 723,724(S.D. 1969). At the time
of the accident, Kunkel was insured by an automobile liability policy issued to him by United
Security Insurance. Id. United paid its policy limits of $25,000 for bodily injury and $1,224 for
property damage,together with interest and costs and sued United to recover, among other things,
the unpaid portion of the judgment totaling $18,798.58. Id. at 724-25. In its complaint, Kunkel
alleged that United had received an offer to settle for $25,000 before the jury verdict and that
"United knew, or in good faith should have known,that the jury would render a verdict in excess
of liability coverage, and did not in good faith refuse to settle or attempt to settle the claim." Id.
at 725. The policy at issue in Kunkel gave United the right to make such investigation and
settlement ofthe claim or suit as United deemed expedient. Id. Ultimately,thejury found in favor
of Kunkel and entered a verdict for $18,798.58 plus interest, along with other damages. Id.

       On appeal, the South Dakota Supreme Court in Kunkel found that there was sufficient
evidence to sustain the jury's verdict. The court found that even before the offer ofsettlement was

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made while the jury was deliherating, the evidence showed that the claimant had a strong case on
the issue of liability and that the claimant's injuries were serious. Id. at 730. Despite these facts,
the court noted that the insurer made neither a serious offer to settle or a counter offer. Id. at 731.

The courts stated that a refiisal to discuss settlement may be considered along with other evidence
in determining the issue of bad faith. Id. at 731 (citing State Automobile Ins. Co. of Columbus,
Ohio V. Rowland, 427 S.W.2d 30 (Term. 1968)). The court also noted the insurer's refusal to
disclose policy limits. Id. The court stated that while the insurer had no affirmative duty to
disclose policy limits, courts had recognized that doing so was relevant to evaluating a case and as
an aid to achieving settlement. Id. Applying those factors to the facts of the case, the court in
Kunkel concluded that:


        The record establishes that [the insurer] recognized great danger of a verdict
        exceeduig policy limits. . . When we consider the comparative hazards; that is,
        settling the case for $25,000 within policy limits, or exposing the insured to a
        possible verdict nearly three times in excess ofthat amount, we believe ajury could
        find that United did not exercise its duty of good faith and did not give equal
        consideration to its own and Kunkel's comparative hazards.

Id.


        MMCI argues that there is no duty to settle here as a matter of law because unlike in an
underinsured motorist case like Helmboldt and Kunkel, Plaintiffs' liability under the Sossan
Lawsuits was not certain and the lawsuits included claims for intentional torts that were clearly
not covered under Plaiatiffs' liability policies. There is no South Dakota law stating that a
covenant of good faith and fair dealing is implied only in underinsured motorist policies, when
liability is certain, and when all third-party claims are covered under the policy. To the contrary,
the South Dakota Supreme Court has stated that there is a covenant of good faith and fair dealing
that is implied in all insurance contracts which requires an iasurer to settle in appropriate
circumstances. Id. The likelihood of liability on the merits is certainly a factor one may consider
in determining whether an insurer did not give equal consideration to the interests ofits insured in
settling within policy limits and is a factual questions that may not be addressed at this stage. See
Kunkel, 168 N.W.2d at 727(listing some factors a factfinder may consider in determining whether
an insurer breached its duty to settle in good faith).




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       The Court acknowledges that the claims in the Sossan Lawsuits included claims for
intentional torts that were clearly not covered under Plaintiffs' policies.        The Court also
acknowledges that that MMCI reserved its rights to challenge coverage of the negligent
credentialing claims against LSCH and if had not already, would likely do as well "with regard to
the negligent credentialing claims alleged against Avera. The South Dakota Supreme Court has
not addressed how, or to what extent, or if at all, an insurer may take into account coverage
considerations in exercising its discretion to settle. However, in Luke v. American Family Mut.
Ins. Co., the South Dakota Supreme Court made clear that an insurer is not precluded from bad
faith liability if it refuses to settle based on an incorrect determination that the policy did not
provide coverage, even if that determination was made m good faith. See 476 F.2d 1015, 1020
(S.D. 1972); accordCookv. U.S. Cap. Ins. Co., Civ. No.93-1077,1994 WL 327039, at *5-6(N.D.
Cal. June 29, 1994)("A good faith belief in noncoverage is not relevant to a determuiation of the
reasonableness of a settlement offer.").

        Generally, an insured has no duty to settle with regard to claims that are not covered under
the policy. St. Paul Fire & Marine Ins. Co. v. Convalescent Servs., Inc., 193 F.3d 340, 343 (5th
Cfr. 1999)(stating that requiring an uisurer to settle within policy limits to avoid exposing its
insured to non-covered damages "would, m effect, extend that actual coverage of the insurance
contract" and "ignores the most basic proposition that an insurer has no duty to settle a non-covered
claim."); Ross Neely Sys. Inc. v. Occidental Fire & Cas. Co., 196 F.3d 1347,1352(11th Cir. 1999)
(uisurer is not "under a duty to settle a compensatory damages award merely to minimize its
insured's exposure to [non-covered] punitive damages"); Magnum Foods, Inc. v. Continental
Casualty Co.,36 F.3d 1491,1506(10th Cir. 1993)(a duty ofgood faith does not include settlement
ofthe non-covered claim); Enserch Corp. v. ShandMorahan & Co.,952 F.2d 1485,1494(5th Cir.
1992)("We cannot allow an insured to settle allegations against it (some of which might be
covered by its insurance, some of which might not) for its policy limits and then seek full
indemnification from its insurer when some ofthat settled liability may he for acts clearly excluded
by the policy."); Zieman Mfg. Co. v. St. Paul Fire & Marine Ins. Co., 724 F.2d 1343, 1346 (9th
Cir. 1983)(stating that an insurer has no obligation to make a settlement offer which is in excess
of the covered claims for the purpose of insulating the insured from the potential of punitive and
other uncovered damages); Lira v. Shelter Ins. Co., 913 P.2d 514, 516-17 (Colo. 1996)("An
insurer who has not contracted to insure against its insured's liability for punitive damages has no
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duty to settle the compensatory part of an action in order to irdnirnize the insured's exposure to
punitive damages."); Johansen v. California State Auto. Assn. Inter-Ins. Bureau, 15 Cal.3d 9, 18
(Cal. 1975)(stating that the insurer was not "under a duty to settle since its policy did not provide
for coverage."); DeWitt v. Monterey Ins. Co., 204 Cal.App.4th 233, 236 (Cal. Ct. App. 2012)
(stating that "an insurer has a duty to accept a reasonable settlement offer only with respect to a
covered claim."); Camelot by the Bay Condo. Owners'Assn. v. Scottsdale Ins. Co.,27 Cal.App.4th
33,52(Cal. Ct. App. 1994)("Here,the trial court attempted to hold Scottsdale to a duty to protect
Breihan against financial risk for even those defects which would ultimately be determined to be
noncovered items. The Comunale rule presupposes that an insurer denies coverage at its own risk
if and only if, coverage is ultimately found."); Seren Innovations, Inc. v. Transcon. Ins. Co., Civ.
No. A05-917, 2006 WL 1390262, at *5 (Miim. Ct. App. May 23, 2006)(stating that an insurer
does not have a duty to settle all claims within the policy limits regardless of whether the policy
provide coverage for a particular claim); Trotter v. State Farm Mut. Auto. Ins. Co., 2)11 S.E.2d
343, 349 (S.C. Ct. App. 1988)(stating that an insurer has no duty to settle a claim that is not
covered by the policy). However, if an insured has "tendered to [an insurer] an amount
representing the insured's good faith assessment of its exposure on the uncovered claims, an
insurer may be liable for bad faith if it refuses to supplement the insured's contribution with an
amount reasonably representative ofthe covered claims." Homestead Ins. Co. v. Cornish & Carey
Residential, Inc., Civ.No.92-20369,1993 WL 255486, at *3(N.D. Cal. June 30,1993), affirmed,
59F.3dl75(9thCir. 1995)).

        In the present case, it is alleged that in 2015, Avera moved for summary judgment on all
ofthe Sossan Lawsuits. Avera's motions for summaryjudgment were denied and Judge Anderson
ruled that the negligent credentialing claims would be presented to a jury. It is alleged that after
five years of litigation, as advocated by MMCI, an opportunity arose to enter into a global
settlement of all 36 individual plaintiffs' cases in the Sossan Lawsuits. At the time of the
mediation, it is alleged that special damages and prejudgment interest exceeded $22 million plus
general damages exposure. Plaintiffs allege that MMCI offered $2 million to settle on behalf of
Plaintiffs even though Avera's policy limit in excess of its $6 million self-insured retention limit
was $10 million, LCSH's primary coverage limit was $1 million per claim and $3 million in the
aggregate, and LCSH's excess coverage limit was $2 million per claim and $2 milhon in the
aggregate. Furthermore, on the second day of mediation, MMCI made its $2 million settlement

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contribution conditioned on a waiver of any bad faith claims against MMCI. When Plaintiffs
refused to waive their bad faith claims, it is alleged that MMCI refused to participate or consider
further settlement discussions. Plaintiffs allege that the ultimate settlement amount of $10,675
million was within policy limits and less than the internal global reserves MMCI set aside for the
Sossan Lawsuits. The Court finds that these allegations are sufficient state a claim that did not
give equal consideration to the interests of Plaintiffs during settlement negotiations. At trial, a
factfinder will need to determine, based on the totality of the circumstances whether MMCFs
conduct was in breach of its implied duty to settle. See Kunkel, 168 N.W.2d at 726, 730 (stating
the good faith is a fact issue for the jury and whether an insurer has adhered to it usually depends
upon circumstances and elements involved in a particular case).

       2. Is a judgment in excess of liability limits an element of a claim for breach of good
           faith duty to settle?

       In their Amended Complaint, Plaintiffs have each pleaded a cause of action for bad faith.
MMIC argues that Plaintiffs have failed to state a claim for bad faith under South Dakota law
because Plaintiffs did not allege that they obtained ajudgment in excess ofpolicy limits, but rather
settled the Sossan Lawsuits.                                                                 ;

        Whether or not ajudgment on the merits is a prerequisite to a cause of action for breach of
the insurer's duty to settle is a subject of division among courts. Some courts have held that an
excess judgment is a prerequisite to a cause of action for breach of an insurer's duty to settle. See
Romstadt v. Allstate Ins. Co., 59 F.3d 608,611 (6th Cir. 1995)("[Ijmplicit in bringing an action
against an insurer for bad faith with respect to settling a claim within policy limits, is a requirement
that there be an excessjudgment against the insured."); Jarvis v. Farmers Ins. Exchange,948 P.2d
898, 902(Wyo. 1997)("A cause of action by an insured against the insurer for a failure, in bad
faith, to settle a claim will not accrue prior to the entry ofajudgment against the insured in excess
of policy limits."); Med. Mut. Liability Ins. Sac. ofMaryland v. Evans, 622 A.2d 103, 114(Md.
1993)("[T]he measure of damages in a bad faith failure to settle case is the amount by which the
judgment rendered in the underlying action exceeds the amount of insurance coverage.");
Scroggins v. Allstate Ins. Co., 393 N.E.2d 718, 720 (111. Ct. App. 1979)(stating that the fact that
an excess judgement was entered against the insured constitutes the damage that permits the
insured to recover for the breach ofthe duty owed). These cases "presuppose[] that the insurer's
breach ofimplied duties of good faith and fair dealing is not complete unless an excessjudgment
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has been entered." Camelot by the Bay Condominium Owners'Ass'n v. Scottsdale Ins. Co., 27
Cal.App.4th 33, 46-47 (Cal. Ct. App. 1994). For example, in Doser v., Middlesex Mut. Ins. Co.,
the California Court of Appeals held that ajudgment in excess of liability limits was a condition
precedent to a bad faith claim. 101 Cal.App.3d 883, 892-93 (Cal. Ct. App. 1980). The court
reasoned that if, in litigating a breach of duty to settle claim, no judge or jury was ever required to
consider the facts ofthe underlying case and render a verdict on which ajudgment could be based,
it would invite collusion between the claimants and the insured. Id. at 893. The court stated that

"[w]e are concerned here not only with the fact of damages being clearly established, but the
certainty ofthe amoimt thereof as well." Id. at 892.

       In contrast to Doser, in Camelot by the Bay Condo. Owners'Ass'n v. Scottsdale Ins. Co.,
the California Court of Appeals acknowledged that although an actual excess judgment, if any, is
highly relevant in any bad faith damages determination, it concluded that there was no explicit
requirement for bad faith liability that an excess judgment was actually suffered by the insured.
27 Cal.App.4th 33,48-49(Cal. Ct. App. 1994). In so holding,the court noted that under California
law, in deciding whether to settle a claim,"the insurer must conduct itself as though it alone were
liable for the entire amount ofjudgment." Id. at 36. The court said that the reasonableness analysis
ofthe settlement decision is thus performed in terms of the probability or risk that such judgment
may he forthcoming in the future in light ofthe information available to the insurer at the time of
the proposed settlement. 27 Cal.App.4th 33, 48-49. In making this determination, the finder of
fact must take into account that information available to the insurer at the time of the proposed
settlement. Id. at 48. In doing so, the court ultimately foimd that the insurer did not breach its
implied covenant and fair dealing by failing to meet its insured's settlement demands. Id. at 54.

       Although all the South Dakota Supreme Court cases involving a had faith failure to settle
have involved damages in excess ofpolicy limits resulting fi:om ajudgment after trial on the merits,
the court has not explicitly stated that ajudgment in excess ofpolicy Imuts is an element ofa claim
for bad faith failure to settle. See, e.g. Luke v. American Family Mut. Ins. Co., 476 F.2d 1015,
1018-19(1972); Kunkel v. United Sec. Ins. Co. ofN.J, 168 N.W.2d 723, 725 (S.D. 1969); Crabb
V. Nat'lIndemn. Co., 205 N.W.2d 633(S.D. 1973)(approving damage award equal to the amount
of the judgment taken against the insured that exceeded the policy limits); Helmbolt v. LeMars
Mut. Ins. Co., 404 N.W.2d 55, 60(S.D. 1987)("The justification for imposing liability upon the

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insurance company equal to the amount in which the judgment exceeded policy limits was that the
company's bad faith failure to settle resulted in its insured beinlg subject to liability for this excess
amount.").

        This Co\art anticipates that the South Dakota Supreme Court would not require ajudgment
in excess of policy limits to prove a bad faith claim. In South Dakota "in making the decision
whether to settle or try a case, the insurer must in good faith view the situation as it would if there
were no policy limits applicable to the claim." Kunkel, 168 N.W.2d at 726. As in Camelot, in
South Dakota cases, the reasonableness of a settlement decision is determined in terms of the
probability or risk that such judgment may be forthcoming in the future. As the South Dakota
Supreme Court noted in Kunkel,"cases are virtually unanimous in holding that when a claimant
has a strong case on the issue of liability and the injuries are serious, both of these matters may
have some tendency to show an insurer's rejection ofan offer to settle was not in good faith." 168
N.W.2d at 731-31. The court further explained that "[wjhere the insurer recognized liability and
the probability ofa verdict in excess ofpolicy limits circumstances constituting a failure to exercise
good faith may weigh in favor of the insured." Id. at 726. The court in Kunkel looked to the
information that the insurer had at the time the insurer made its settlement decision and concluded

that the insurer (United) had committed bad faith and reasoned as follows:

        The record establishes that United recognized great danger of a verdict exceeding
        policy limits. It hardly allows any other reasonable analysis. When we consider
        the comparative hazards; that is, settling the case for $25,000 within policy limits,
        or exposing the insured to a possible verdict nearly three times in excess of that
        amount, we believe a jury eould find that United did not exercise its duty of good
        faith and did not give equal consideration to its own and Kunkel's comparative
        hazards.

Id. at 731; see also Rupp v. Transcontinental Ins. Co., 627 F.Supp.2d 1304, 1323(D. Utah 2008)
("A judgment after trial certainly is good evidence of damages. But it need not be the only form
of evidence a court will accept in a bad faith action against the insurer."); Crawford v. Infinity Ins.
Co., 64 Fed. Appx. 146, 151 (Wyo. 2003)("[A] consent judgment suffices under Wyoming law
for a third-party bad faith tort claim."); SwedishAmerican Hosp. Ass'n ofRoclford v. Illinois State,
916 N.E.2d 80 (111. Ct. App. 2009)(citing Rupp, 627 F.Supp.2d 1304)(concluding that when an
insured is facing the significant likelihood ofan excessjudgment,it is not required to take the case
to trial before a cause of action for bad faith accrues); Campbell v. State Farm Mut. Auto. Ins. Co.,

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840 P.2d 130, 140 (Utah Ct. App. 1992)("If the insurer's decision to reject offers of settlement
and go to trial is unreasonable, it is at that time that the breach of duty occurs, which is the crux of
the insured's cause of action for bad faith."); Farr v. Transamerica Occidental Life Ins. Co., 699
P.2d 376,381 (Ariz. Ct. App. 1984)(holding that attomey's fees and consequential damages may
be recovered).

        Ultimately, Plaintiffs will be required to prove causation and damages in order to recover
damages for their bad faith claims, but these are issues for the factfinder. However, the fact that
there was not ajudgment in excess ofliability limits in this case does not mean that Plaintiffs have
failed to state a claim of bad faith under South Dakota law.


        3. Duty of equal consideration when no duty to defend

        The Court acknowledges that unlike with LCSH, MMCI did not have a duty to defend
Avera until Avera exhausted its self-insured retention limits and there are no allegations in the
Amended Complaint that MMCI exercised its right under Avera's primary policy to defend Avera.
{See Doc. 44-1 at 415)("MMIC shall have the right but not the duty to defend, or associate in the
defense and control of any covered claim or suit made or brought against the insured that is likely
to involved MMIC."). Even though MMCI did not control Avera's defense, it retained control
over settlement since the terms ofthe liability policy provided for MMCI's consent to settlement.

        In this case, as in other cases involving an excess insurer,"even when [an excess insurer]
has not assumed the defense or control of settlement negotiations, an excess insurer has the right
under the policy to consent to any settlement reaching its coverage level." Assoc. Wholesale
Grocers, Inc. v. Americold Corp.,261 Kan.806,806(Kan. 1997). Courts have held that"an excess
insurer has an implied obligation to exercise that right in good faith" so as to not deprive an insured
ofthe benefit oftheir bargain. Id. (citing 1 ^indt,Insurance Claims & Disputes, § 5.26 at 350(3d
ed. 1995)("The duty [of an excess insurer] to settle exists independently ofthe duty to defend.");
Ashley, Bad Faith Actions—^Liability and Damages § 6.21 (1992)("When an insured has both
primary and excess liability insurance coverage, he can expect the excess carrier to respond to
settlement offers with the same good faith required of primary carriers.")); see also Schwartz v.
Twin City Fire Ins. Co., 492 F.Supp.2d 308, 318-19 (S.D.N.Y. 2007)(stating that excess carrier
cannot act unreasonably in withholding consent to settle); N. Am. Van Lines, Inc. v. Lexington Ins.
Co.,678 So.2d 1325,1332(D. Fla. 1996)(finding that excess insurer could not arbitrarily reject a
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reasonable settlement offer without breaching its policy provisions, thus entitling the insured to
settle the case and seek reimbursement); Diamond Heights Homeowners Assn. v. Nat'I Am. Ins.
Co., 227 Cal.App.3d 563, 566(Cal. Ct. App. 1991)("[A]ny insurer, whether excess or primary, is
subject to an implied duty of good faith and fair dealing that requires it to consider the interests of
the insured equally with its own interests and evaluate settlement proposals as though it alone
carried the entire risk of loss."); Kelley v. British Coml. Ins. Co., 221 Cal.App.2d 554 (Cal. Ct.
App. 1963)(holding that in an action against a liability insurance company for failure to settle a
claim within policy limits of its excess liability policy, the fact that the company occupied the
position of an excess carrier and took no active part in the defense of the action did not relieve it
of the duty of good faith toward its insured where its control over settlement negotiations was
separate and distinct from its right to take over the defense of the action, where the excess policy
prohibited the insured from settling the claim in excess of its coverage under the primary policy
without the excess insurer's written consent, where the primary insurer offered the full amount of
its coverage prior to trial, and the excess insurer choose not to take an active part in the defense);
Diamond Heights Homeowners Assn v. Nat'I Am., 227 Ca.App.3d 563, 578-81 (Cal. Ct. App.
1991)("Any insurer, whether excess or primary, in conducting settlement negotiations, is subject
to an implied duty of good faith and fair dealing which requires it to consider the interests of the
insured equally with its own and evaluate settlement proposals as though it alone carried the entire
risk of loss. ..[An] insurer is deemed to have waived its rights under the "no action" clause by
such conduct. .. when it violates its own contractual obligations to the insured."). The purpose
ofliability insurance is to protect the insured from liability within the limits ofthe contract. Bowers
V. Camden Fir Ins. Ass'n,237 A.2d 857,861 (N.J. 1968). Aninsurer may notfrustrate that purpose
by a selfish decision as to settlement which exposes the insiired to ... a judgment beyond the
specific monetary protection which his premium purchased." Id.

        Failure by an excess insurer to exercise good faith in settlement will expose an excess
insurer to liability in tort because of the fiduciary-like relationship that exists between an excess
insurer and its insured. See Central Flying Serv., Inc. v. StarNet Ins. Co., 150 F.Supp.3d 1038,
1042(E.D. Ark. 2015)(quoting S. Farm Bureau Cas. Inc. Co. v. Parker, 341 S.W.2d 36, 41 (Ark.
1960)("When a liability company by the terms ofits policy obtains from the insured a power
to determine whether an offer of compromise of a claim shall be accepted or rejected, it creates a
fiduciary relationship between it and the insured with the resulting duties that group out of such a
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relationship.")); Walters Wholesale Electric Co. v. Nat'l Union Fire Ins. Co.,247 F.R.D. 593,597
(C.D. Cal. 2008)(stating that there exists a "fiduciary relationship" between a primary insurer, an
excess insurer, and an insured); Allstate Ins. Co. v. Am. S. Home Ins. Co., 680 So.2d 1114, 1116
(Fla. Ct. App. 1996)(stating that the relationship of an excess insurer to its insured is fiduciary in
nature, requiring the insurer to excess good faith). The Court predicts that the Supreme Court of
South Dakota would adopt this approach. Courts in South Dakota have recognized that "the
relationship of the insurer to the insured is akin to that of a fiduciary since it must give at least as
much consideration to the insured's interest as it does its own. Trouten v. Heritage Mut. Ins. Co.,
632 N.W.2d 856, 864 (S.D. 2001). "Because of this fiduciary duty to the insured, the insurer
stands in the shoes ofthe hisured and has an adversarial relationship to the victim." Id. This Court
finds that the fact that an insurer is an excess insurer does not change the nature ofthis relationship.

        Unlike with a primary insurer, however,an excess insurer does not owe a duty to its insured
to participate in the defense or initiate settlement negotiations until the primary policy limits are
exhausted. See Certain Underwriters ofLloyd's v. Gen. Acc. Ins. Co. ofAm., 699 F.Supp. 732,
740(S.D. Ind. 1988)(stating that an excess carrier owes no duty to the insured nor to the primary
carrier either to defend the insured or to enter into settlement negotiations); Continental Cas. Co.
V. Royal Ins. Co., 219 Cal.App.3d 111, 119(Cal. Ct. App. 1990)(stating that an excess carrier has
no duty or right to participate in the defense, absent contract language to the contrary, until the
primary policy limits are exhausted); 14A Couch on Ins. § 203:21 (citing St. Paul Fire & Marine
Ins. Co. V. Liberty Mutual Ins. Co., 353 P.3d 991, 998 (Haw. 2015)("An excess liability carrier
owes no duty to the insured or to the primary carrier to enter into settlement negotiations."); 14
Couch on Ins. § 200:42. An excess insurer may participate in litigation to protect its own interests,
but has not obligation to do so. See 14 Couch on Ins. § 200:39(citing General Motors Acceptance
Corp. V. Nationwide Ins. Co., 828 N.E.2d 959, 961 (N.Y. 2005)("An excess carrier may []
voluntarily participate in the insured's defense hut has no obligation to do so.").

        Most courts have held that an excess insurer's duty vis-a-vis settling a claim does not arise
until the excess insurer has been made aware that the primary insurer has tendered its policy limit.
Allan D. Windt,1 Insurance Claims and Disputes,Excess insurer's duty to settle, § 5:26(6th ed.).
Once a primary uisurer tenders its full policy limits, excess insurers can, at their discretion "agree
to undertake the defense." Monarch Plumbing Co. v. Ranger Ins. Co., Civ. No. 06-1357, 2006


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WL 2734391, at *4 n.6 (E.D. Cal, Sept. 25, 2006). In the present case, Avera's liability policy
provided that MMCI had the right to defend any covered claim or suits against Avera that is likely
to involve MMCI. Regardless of whether an excess insurer exercises its right to defend, it is still
obligated to exercise good faith in making settlement decisions when, in a situation such as this,
the excess insurer has the complete discretion to settle.

        When a primary insurer and/or the insured with a self-insured retention is willing
        to contribute its limit of liability to settlement and makes that fact known to an
      ^ excess insurer, the excess insurer's coverage is triggered. The excess insurer must
       then evaluate whether the settlement value of the case warrants a further
       contribution by it to a settlement. In other words, under the foregoing
       circumstances, the excess insurer should be subject to the same duty to settle
       principles as a primary insurer. The fact that the excess insurer should have no duty
       to defend,since the primary insurer should still he provided a defense, is irrelevant.
       The duty to settle exists independently ofthe duty to defend.

Allan D. Windt, 1 Insurance Claims and Disputes, Excess insurer's duty to settle § 5:26 (6th ed.);
see also Teleflex Med. Inc. v. Nat'l Union Fire Ins. Co. ofPittsburgh, PA, 851 F.3d 976 (9th Cir.
2017)(applying California law)(Primary insurer tendered limits to a settlement, but excess insurer
refused to contribute to a settlement. Insured settled without the excess insurer's consent and sued

the excess for reimbursement. The excess insurer denied coverage on the ground that it had not
authorized the settlement. The court held against the excess insurer, explaining that, at a minimum,
the excess insurer should have agreed to undertake the defense). A variety of cases, each with
their own facts, state the general principle that excess insurers have no obligation to the insured
until the primary insurer tenders its policy limits. Berglund v. State Farm Mut. Auto. Ins. Co., 121
F.3d 1225,1228(8th Cir. 1997)(dicta applying Iowa law); Noonan v. Vermont Mut. Ins. Co., 761
F.Supp.2d 1330, 1335 (M.D. Fla. 2010); Employers Nat'l Ins. Co. v. Gen. Acc. Ins. Co., 857
F.Supp. 549, 551 (S.D. Tex. 1994); Hilco Capital, LP v. Ed. Ins. Co., 978 A.2d 174, 179 (Del.
2009); Keckv. Mahin & Cate v. Nat'l Union Fire Ins. Co., 20 S.W.3d 692, 701 (Tex. 2000); New
Jersey Mrs. Ins. Co. v. Nat'l Cas. Co.,992 A.2d 837,842(N.J. Super. Ct. App. Div. 2010);Assoc.
Wholesale Grocers, Inc. v. Americold Corp., 261 Kan. 806, 830(Kan. 1997); Signal Co's, Inc v.
Harbor Ins. Co., 27 Cal.3d 359, 370(Cal. 1980).

       In the present case, Avera's primary policy which provided for a self-insured retention of
$2 million per event and $6 million in the aggregate. Avera had paid $4,129,363 m claims toward
the $6 million of self retention and at mediation offered the Sossan plaintiffs $1,870,637, thus

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meeting the $6 million retention. Plaintiff LCSH had no self-insured retention with a primary
policy limit of $1 million per claim and $3 million in aggregate with the excess policy liability
limit of$2 million per claim and $2 million in aggregate.

        Avera alleges that during the mediation at which MMCI representatives and counsel were
in attendance, it tendered its self-insured retention limits under its liability policy.   MMCI had
the sole discretion to accept or reject settlement under the terms ofthe policy. Accordingly, MMCI
had a duty to exercise its discretion in good faith and to give equal consideration to the interests
ofits insureds when making settlement decisions. This duty is separate and distinct from MMCI's
duty to defend. See Luke v. American Family Mut. Ins. Co., 476 F.2d 1015, 1020 (8th Cir. 1972)
(stating that while good faith is the central issue to be decided when determining whether a carrier
breached its duty to settle within policy limits, good faith is not relevant to an insurer's wrongful
breach ofits duty to defend). None ofthe parties have cited a case which parallels the present case
where the insurer entered into the settlement negotiations and subsequently imposed a new
condition when had been no condition attached to the two million put in toward settlement and
then withdrew all amounts and left the mediation. For the foregoing reasons, the Court declines
to dismiss Avera's breach of duty to indemnify claim. If Plaintiffs prove that MMCI breached its
duty to settle in good faith, then MMCI is entitled to indemnification under the policy.

    in.    Is an insured excused from compliance with the "cooperation," "nb voluntary
           payments," and "no action" clauses when an insurer defends subject to a
            reservation of rights.
        Plaintiffs argue that the South Dakota Supreme Court would also conclude that when an
insurer defends subject to a reservation of rights, so long as coverage applies, it is obligated to
reimburse an insured for a: fair and reasonable settlement entered into in good faith despite an
insurer's objection pursuant to a "cooperation" or "no volimtary payments" clause.

        A. United Services Automobile Association v. Morris,741 P.2d 246(Ariz. 1987)

        The case that Plaintiffs urge the Court to follow is United Servs. Auto. Ass'n v. Morris,741
P.2d 246 (Ariz. 1987). In Morris, the insureds faced the possibility of a jury verdict greater tbau
$100,000 policy limit, and even if within the limit, one that might not be covered given that the
insurer was defending subject to a reservation ofrights. Id. at 251. The policy provided that "the
insured shall not, except at the insured's own cost, voluntarily make any payment, assume any

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obligation or incur any expense other than for first aid to others at the time of bodily injury." Id.
at 249 n.4. The insurer informed the insured that it would consider any settlement by the insured
to be a material breach of the policy conditions, thereby releasing the insurer from its duty to
indemnify and stated hi a letter the following:

       Please be advised that USAA does not agree to either insured (Taylor or Waltz)
       allowing or in any way encouraging a judgment in any amount to be taken against
       them by the plaintiff. ... Whereas we appreciate the advantages accruuig to the
       insureds as a result ofsuch a maneuver, it would deprive USAA of what I consider
       to be a very substantial probability of obtainmg a defense verdict in the tort action.

Id. at 248. Despite that, the insured stipulated to a $100,000 judgment to be collected solely from
the insurer in exchange for a covenant not to execute their assets. Id.

       The court in Morris analyzed whether an insnrer may assert a policy's cooperation clause
to prevent insureds who are being defended under a reservation of rights from protecting
themselves by settling. The court noted that in defending subject to a reservation of rights, the
insured did not breach any of its policy obligations. Id. at 251. The court stated that "while [the
insurer] did not'abandon' its insureds by breaching any policy obligation, neither did it accept full
responsibility for their liability exposure." Id. The court stated further that:

               As a consequence of USAA's reservation of rights, Taylor and Waltz were
       placed in a precarious position. At trial, they faced the possibility of a jury verdict
       greater than their $100,000 policy limits or, even if within the limit, one that might
       not be covered. We therefore agree with Morris that the insureds had the need to
       act reasonably to protect themselves from "the sharp thrust of personal liability."
       Naturally, USAA also realized that it was in its insureds' best interest to enter into
       a Damron-tyTpQ agreement. However, USAA's position was that the cooperation
       clause gave it a right to force the insureds to reject any settlement, no matter how
       reasonable, risk trial, and place themselves at danger of ajudgment larger than the
       policy limits or one that might not be covered.
              In effect, such an interpretation of the cooperation clause hamstrings the
       insured while granting the insurer a double bite at escaping liability. Only one trial
       outfcome would be beneficial to both USAA and its insureds: a verdict against the
       claimant, Morris. If the verdict were in favor of Morris, however, USAA would
       have another chance at escaping the obligation to indemnify because it would be
       able to relitigate the intentional act exclusion coverage issue in a declaratory
       judgment action such as this. In addition, absent bad faith conduct, USAA will
       never be at risk for more than its $100,000 policy limit. Thus, the insureds risk
       financial catastrophe if they are held liable, while the insurer may save itself by
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       litigating both issues—^the insured's liability and the coverage defense—and
       winning either.

Id. at 251. The court in Morris noted that the majority to courts resolve this type of conflict by
permitting an insured to reject a defense offered under a reservation of rights. The insured thus
forces the insurer to elect either to defend unconditionally or to refuse to defend at its peril. Id.
The court noted that such a solution "puts an insurer honestly attempting to perform its duties
between a Scylla and Charybdis. The insurer must either give up its right to raise tenable coverage
defenses or its right to insist on full application of the cooperation clause." Id. at 251-52. The
court stated that "[t]he better result would permit the insurer to raise the coverage defense, and
also permit an insured to protect himselffrom the risk of noncoverage or excess judgment, while
at the same time protecting the insurer from unreasonable agreements between the claimant and
the insured." Id. at 252. It concluded that an insured being defended under a reservation ofrights
may enter into a Damron agreement without breaching the cooperation clause so long as the
agreement is made fairly with notice to the insurer, and without fraud or collusion on the insurer.
Id.


        The court acknowledged, however, that "[a]n insured's settlement agreement should not
be used to obtain coverage that the insured did not purchase" and concluded that the insured may
litigate unresolved coverage issues on remand. Id. at 253. The court rejected the insurer's
argument that the settlement agreement should not binding on USAA because it would have won
the liability case at trial. Id. The insurer in Morris urged an absolute right to relitigate all aspects
of the liability case, including liability and amount of damages. Id. The court stated that such a
position would "destroy the purpose served by allowing insureds to enter into Damron agreements
because claimants would never settle with insureds if they never could receive any benefit. Id.
The court recognized however,"that an insured being defended under a reservation might settle
for an inflated amount or capitulate to a frivolous case merely to escape exposure or further
annoyance." Id. (citing to Miller v. Shugart, 316 N.W.2d 729, 733 (Minn. 1982)). The court
stated that to resolve this concern,"neither the fact nor amount ofliability to the claimant is binding
on the insurer unless the insured or claimant can show that the settlement was reasonable and
prudent." Id. The test as to whether the settlement was reasonable and prudent, the court said,"is
what a reasonably prudent person in the insureds' position would have settled for on the merits of



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the claimant's case." Id. at 254. This involves evaluating the facts bearing on the liability and
damage aspects of claimant's case, as well as the risks of going to trial." Id.

       The court in Morris held as follows:

       [T]he trial court erred in holding that the mere making ofthe settlement agreement
       between Morris and the insureds was a breach of the cooperation clause. Finding
       themselves in a position of economic peril because the insurer had raised the
       coverage defense, the uisureds had the right to make a reasonable, non-collusive
       settlement to protect themselves. On remand, the insurer is not bound by any
       factual stipulations and ... is free to litigate the facts of the coverage defense. If
       the insurer wins on the coverage issue, it is not liable for any part ofthe settlement.
       If it loses, it may or may not be bound by the amount of the judgment taken by
       Morris against Taylor and Waltz. Morris will have the burden of showing that the
       judgment was not fraudulent or collusive and was fair and reasonable under the
       circumstances. If Morris cannot show that the entire amount of the stipulated
       judgment was reasonable, he may recover only the portion that he proves was
       reasonable. If he is unable to prove the reasonableness of any portion of the
       judgment, USAA will not he hound by the settlement.

Id. at 254.


       At the outset, this Court notes that the Arizona Supreme Court has concluded that Morris
does not apply when, as in this case with regards to Avera, an insurer does not have a duty to
defend. Apollo Educ. Group, Inc. v. Nat'l Union Fire Ins.,480 P.3d 1225(Ariz. 2021). In Apollo,
the directors and officers of Apollo Education Group,Inc. were insured up to $15 million under a
directors and officers liability policy. Id. at 1227. Under the policy, the insurer had no duty to
defend the insured ifsued and the policy did not contain a cooperation clause. The policy included
a consent-to-settle provisions that stated "[t]he Insureds shall not . . . enter into any settlement
agreement... vrithout the prior written consent of the Insurer." Id. at 1228. That provision also
provided that "[ojnly those settlements ... which have been consented to by the Insurer shall be
recoverable as Loss under the terms of this policy." Id. The provision further stated that "[t]he
Insurer's consent shall not be unreasonably withheld." Id.

       A class action lawsuit was filed against the insured in ri/7o//o after its stock dropped 22.9%
following a Wall Street Journal article detailing an industry practice of backdating stock options
for corporation executives and an investigation of the insured by the U.S. Attorney's office,
followed by an internal investigation and a public disclosure by the insured that it had used


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incorrect dates for accounting purposes and admitting various deficiencies in the process of
granting and documenting stock options. Id. The district court dismissed the complaint against
the insured with prejudice for failure to particularly allege falsity as required by Rule 9(b) of the
Federal Rules of Civil Procedure, denied a request for leave to amend and a motion to reconsider.
Id. The plaintiffs filed an appeal. Id. While the appeal was pending,the plaintiffs and the insured
entered into mediation which resulted in an agreement to settle for $13,125,000. Id. Given costs
incurred to that point, the D&O policy was down to $13,500,000 to cover a settlement. Id.

       The insurer in Apollo refused to consent to settlement. Id. The insured entered into the
settlement agreement, paying the plaintiffs out of pocket. The insured then sued the insurer to
recover the settlement amount, alleghig both breach of contract and bad faith. Id. The district
court granted summary judgment to the insurer and the insured appealed. The Ninth Circuit
certified the following question to the Arizona Supreme Court: "What is the standard for
determining whether National Union unreasonably withheld consent to Apollo's settlement with
shareholders in breach of contract under a policy where the insurer has no duty to defend?" The
court clarified its question by asking" "Would the federal district court assess the objective
reasonableness of the insurer's decision to withhold consent from the perspective of an insurer or
an insured?" Id. at 1226.


       On certification, the Arizona Supreme Court concluded that the test of reasonableness
applied by it in Morris—^whether a reasonably prudent person in the insured's position would have
settled for on the merits of the claimant's case—did not apply because unlike in Morris, the
insurer in Apollo did not have a duty to defend. The court stated that:

               Crucially, the central feature giving rise to the Court's departure from the
       policy language and the exception to the duty to cooperate in Morris was based on
       who had the "advantage of exclusively controlling the litigation." In Morris, the
       insurer possessed that control; here, absent a duty to defend, the insured does.
               In a D&O policy like the one here, no reason exists to not enforce the
       consent-to-settlement provision as plainly written and agreed to by the parties. The
       danger in Morris was leaving the insured at the insurer's mercy; here, the risk is
       that the insured will use the insurer's coverage to assure it will escape liability that
       exceeds policy limits. Thus, unlike in Morris, where the insured was powerless to
       avoid a "precarious position," there is no need to protect the insured here from an
       unfair allocation of risk, such as by implying a duty to accept settlements that are
       reasonable fiom the insured's perspective. Rather, as the contract provides, courts
       must determine whether consent was reasonably withheld.

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Id. at 1230. The court stated that when the insured controls the litigation, an equal consideration
requirement might force an insurer to accept a settlement, controlled entirely by the insured, for
the full policy limit, even if the insurer fairly valued the claim at zero or an amount below the
policy limit." Id. at 1231. The court said that where the insurer lacks control over the litigation
and settlement, reasonableness of the settlement must be viewed from the insurer's perspective.
Id. However, as the dissent observes, the test that the majority adopted was very much like the
duty of equal consideration standard.

       Judge Gould authored a dissent of the majority's opinion in Apollo which was joined by
Judge Lopez and which this Court finds to be compelling and more pertinent to this case given the
facts of this case. The dissent agreed with the majority that Morris did not apply, reasoning that
the insured never entered into a Morris agreement and as a result, the unique circumstances
involved in examining the reasonableness of such an agreement were not present. Id. at 1234.
Where the dissent diverged from the majority was the standard imposed on an msurer's duty to act
reasonably in withholdhig its consent. Id. The dissent stated that instead, the court should have
applied the duty of equal consideration standard. Id. Thus, if the insurer withheld its consent to
the settlement without giving equal consideration to the interests of the insured, the dissent
contends that the insurer breached the msurance contract, and the insured was free to enter the
settlement agreement without the insured's consent. Id. {ddmgSafeway Ins. Co. v. Guerrero, 106
P.3d 1020, 1024 (Ariz. 2005)); Ariz. Prop. & Gas. Ins. Guar. Fund v. Helme, 735 P.2d 451, 459
(Ariz. 1987)). The dissent emphasized that the "duty to give equal consideration to offers of
settlement exists separate and apart from the duty to defend." Id. at 1235 (quoting Equity Gen.
Ins. CO. V. C&A Realty Co., 715 P.2d 768, 772 (Ariz. Ct. App. 1985)). The dissent noted that,
despite the absence of a duty to defend, the insurer did have a great deal of control over the
litigation by virtue ofits authority to accept or reject any settlement agreement negotiated. Id. The
court stated that because there is no standard set forth in the policy itself, the insurer was required
to give equal consideration to the interests of its insured in deciding whether to consent to the
settlement agreement.

        The majority criticized the dissent's approach, stating that it ignores the contract language
requiring that consent not be unreasonably withheld and displaces the policy terms with the
implied covenant offair dealing. Id. at 1230.^ The majority held that "where there is no duty to

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defend, and the contract requires an insured to not unreasonably withhold consent to a settlement
proposed by the insured and a third party, [it] will examine whether the insurer's decision to
withhold consent to a settlement is reasonable ftom the insurer's perspective." Id.

        This Court notes that as m Apollo, MMCI did not have a duty to defend Avera and thus the
Morris standard does not apply to Avera's claims even though MMCI had the authority under the
policy to consent to settlement. The Court finds the analysis conducted by the dissent m Apollo to
be compelling given that absent ftom Avera's liability policy is any requirement that MMCI's
consent not be unreasonably withheld. The South Dakota Supreme Court has stated that "[a]
covenant is implied in an iasurance contract that neither party will do anything to injure the rights
ofthe other in receiving the benefits ofthe agreement." Helmboldt v. LeMars Mut. Ins. Co., 404
N.W.2d 55, 57 (S.D. 1987). As the dissent stated in Apollo,"one of the benefits that flow from
the insurance contract is the insured's expectation that his hisurance company will not wrongfully
deprive him of the very security for which he bargained or expose him to the catastrophe from
which he sought protection." 480 P.3d at 1233 (quoting Rowlings v. Apodaca, 726 P.2d 565,571
(Ariz. 1992)). There is no standard ofcare explicitly detailed in either Avera's or LCSH's liability
policies. Consistent with South Dakota law, the Court concludes that implied in the policies is
MMCrs "duty to give equal consideration to the interests ofits insured[s] when making a decision
to settle a case brought against it by a third party." See Bertelsen, 796 N.W.2d at 700. If it is
found that MMCI breached this duty of equal consideration, Avera and LCSH are permitted to
settle and seek reimbursement under their liability policies.

           B. Miller-Shugart settlements and South Dakota law on reservation of rights

        Plaintiffs primarily give two reasons why the South Dakota Supreme Court would likely
conclude that an insured does not forfeit its rights to indemnification under a policy containing
"cooperation," "no voluntary payments" and "no action" provisions when settling without the
consent of an insurer defending its insured subject to a reservation of rights. First, Plaintiffs note
that the South Dakota Supreme Court has approved the use of Miller-Shugart settlements which
"permit[]an insured to settle a claim agahist it by admitting to ajudgment and then assigning its
rights under its insurance policy to itsjudgment creditor." Western Agricultural Ins. Co. v. Arbab-
Azzein, 940 N.W.2d 865, 867 n.2(S.D. 2020)(citing Miller v. Shugart, 316 N.W.2d 729, 734-35
(Minn. 1982)). The court stated that the settlement, however, it not binding on the insurer unless

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the claim was actually covered and the amount ofthe settlement is reasonable and not the product
offraud or collusion." Id.


       In Miller-Shugart, plaintiff Lynette Miller was injured in an automobile accident when a
car owned by Barbara Locoshonas and driven by Mark Shugart in which Miller was a passenger
struck a tree. 316 N.W.2d 729, 731-32 (Mirm. 1982). Locoshonas had an auto liability policy
with Milbank. Id. at 732. Milbank, however, contended that Shugart, the driver of the car, was
not an agent of the owner and was thus not covered on the policy. Id. Milbank Insurance
commenced a declaratory judgment action shortly after the accident to determine the coverage
question. Id. Judgement was entered on the declaratory judgment action adjudging that Milbank's
policy afforded coverage to both Locoshonas and Shugart. Id. Miller commenced her personal
injury action against Locoshonas and Shugart and Milbank appealed the declaratory judgment
action. Id.


        Twice while Milbank's appeal was pending, counsel for Locoshonas and Shugart advised
Milbank they were negotiating a settlement with plaintiffs attorney and invited Milbank to
participate in the negotiations. Id. Milbank refused, stating that it could not do so while the
coverage question was unresolved. Id. There was no reservation of rights agreement. Milbank
provided separate counsel at its expense to represent the insured and the driver. Milbank refused
to participate on the basis that the coverage question was unresolved.

        Approximately 7 months before the Court of Appeals issued its opinion affirming the trial
court's declaratory judgment decision, the plaintiff and the two defendants in Miller signed a
stipulation for settlement of the plaintiffs claim in which defendants confessed judgment in the
amount of$100,000 which was twice the limit of Milbank's policy. Id. The stipulated judgment
further provided that it could be collected only from proceeds of any applicable insurance with no
personal liability to defendants. Id. Milbank was advised of the stipulation and judgment on the
stipulation was entered. Id.

       The liability policy with Milbank contained a cooperation clause that is similarly worded
to the cooperation clause in Plaintiffs' policies in the present case which provided in pertinent part
that "The insured shall cooperate with the company and, upon the company's request, assist in
making settlements .... The insured shall not, except at his own cost, voluntarily make any
payment, assume any obligation or incur any expense other than for the first aid of others at the

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time of the accident." Id. at 733, n.l. Milbank argued that by entering into the stipulated
settlement, the insureds breached the duty under the policy to cooperate and that the indemnity
agreement ofthe policy had thus been voided. Id.

        .In analyzing this issue, the Minnesota Supreme Court acknowledged that Milbank had a
right to determine if its policy afforded coverage for the accident claim and that Milbank had not
abandoned its insured nor, but seeking a determination ofits coverage, had it repudiated its policy
obligations. Id. The court stated, however, that while Milbank did not abandon its insureds,
neither did it accept responsibility for the insureds' liability exposure. Id.^

         Ultimately, the court held that the insureds did not breach their duty to cooperate with the
insurer that was contesting coverage by settling directly with the plaintiff. Id. at 734. The court
reasoned as follows:


         While the defendant insureds have a duty to cooperate with the insurer, they also
         have a right to protect themselves against plaintiff's claim. The attorneys hired by
         Milbank to represent them owe their allegiance to their clients, the insureds, to best
         represent their interests. If, as here, the insureds are offered a settlement that
         effectively relieves them of any personal liability, at a time when their insurance
         coverage is in doubt, surely it cannot be said that it is not in their best interest to
         accept the offer. Nor,do we think can the insurer who is disputing coverage compel
         the insureds to forego a settlement which is in their best interests.
Id. at 733-34.


         The court in Miller Shugart acknowledged that permitting the insured to make a settlement
relieving them of liability places the insurer in a difficult position. Id. at 734.

         If the insurer ignores the "invitation" to participate in the settlement negotiations,
         it may run the risk ofbeing required to pay, even within its policy limits, an inflated
         judgment. On the other hand, ifthe insurer decides to participate in the settlement
         discussions, ordinarily it can hardly do so meaningfully without abandoning its
         policy defense. Nevertheless, it seems to us, if a risk is to be borne, it is better to
         have the insurer who makes the decision to contest coverage bear the risk. Of
         course, the insurer escapes the risk if it should be successful on the coverage issue,
         and,in that event, it is plaintiff who loses.
Id. at 734. The court acknowledged that the "judgment" was not an adjudication on the merits of
the underlying claims, but rather reflected the settlement agreement and that "in arriving at the

^ In the present case there is a claim that the insurer abandoned its insureds, another way to not accept
responsibility.

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settlement terms, the defendants would have been quite willing to agree to anything as long as
plaintiff promised them full immunity." Id. at 735. The court stated that to address insurer's
concerns that a settlement agreement is not the product offraud or collusion, in order to bind the
insurer to the agreement, the plaintiff must prove that the settlement is reasonable and prudent.
See id. The test as to whether the settlement is reasonable and prudent is "what a reasonably
prudent person in the position of the defendant would have settled for on the merits of plaintiffs
claim." Id. This invblves consideration of the facts bearing on the liability and damages aspects
of plaintiffs claim, as well as the risks of going to trial. Id.

        MMIC argues that although the South Dakota Supreme Court has approved of the use
Miller-Shugart settlements, it has not done so in a situation such as this where the insurer was
defending subject to a reservation ofrights as is the situation with LCSH but not Avera. There are
two cases in which the South Dakota Supreme Court has recognized the validity ofMiller-Shugart
settlements. Western Agricultural Insurance Co. v. Arbab-Azzein, 940 N.W.2d 865 (S.D. 2020)
and Western National Mutual Insurance Co. v. TSP, Inc., 904 N.W.2d 52(S.D. 2017), overruled
on other grounds re: attorneysfees, Sentell v. Farm Mut. Ins. Co. ofLincoln County,956 N.W.2d
826 (S.D. 2021). Neither case mentions whether there was a "cooperation" or "no voluntary
payments" clause contained in the insurance policies, but those are commonly present in
automobile liability policies. See id. at 56 n.l (citing Abrams, Jerome, Failure to Allocate?
Nobody Pays: Using Miller Shugart Settlements in Cases ofQuestionable Insurance Coverage,4
Wm.Mitchell J.L. & Prac. 2,5-6(2010)). As in Miller Shugart, 6oth cases involved no reservation
of rights but with the insurers bringing declaratory judgment actions to determine coverage. See
Western Ag, 940 N.W.2d at 867. ("After Western Ag denied coverage and refused to defend,
Arbab-Azzein and Mussa entered into an agreement for a stipulation judgment. . . ."); Western
Nat7,904 N.W.2d at 54("BHI forwarded the suit to Western National for defense, which it refused
to provide."). In both cases, a declaratory judgment action ultimately determined there was no
coverage. The refusal to defend was not a factor in those decisions, but both decisions approved
ofthe Miller Shugart agreements.

        This Court recognizes that in Miller Shugart,the Minnesota Supreme Court concluded that
when an insurer is providing separate defense counsel, but with no reservation of rights and with
a refusal to participate in settlement diseussions, and a declaratory action pending as to coverage.


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an insured may settle despite policy provisions requiring an insurer's consent. However, there is
no South Dakota case that has considered the validity of Miller Shugart agreements when a
reservation of rights is present. As stated above, both Western Ag. Ins. Co. v. Arbab-Azzein, 940
N.W.2d 865, 867(S.D. 2020) and Western Nat'I Mut. Ins. Co. v. TSP, Inc., 904 N.W.2d 52(S.D.
2017)involved an insurer refusing to defend. There was, however, no finding of breaching a duty
to defend in Western Agricultural Insurance v. Arbab-Azzein nor in Western National Mutual
Insurance'Company. In both cases, the court determined there was no coverage. In Western
National Mutual Insurance Company, the attorney fees were awarded pursuant to SDCL 58-33-
46.1 (later overruled on other grounds by Sentell v. Farm Mut. Ins. Co. ofLincoln County, 956
N.W.2d 826 (S.D. 2021)) for breach of statutory insurance obligations, not for breach of duty to
defend.


       The Western Agricultural Insurance Company and Western National Mutual Insurance
Company cases do permit the Court to determine that South Dakota law would allow Avera to
settle the plaintiffs' claims against it but Avera will have to prove that the settlement was
reasonable and not the subject of fraud or collusion. As Western National Mutual points out in
footnote 1, the insured will have to show that the claim was actually covered. In this case, it
appears that some ofthe claims were covered and some were not covered. Those complexities are
what cause lawsuits and requhe a reasoned approach for resolution.

       LCSH presents an additional question as there is a reservation of rights agreement that is
not m the record. It may be that agreement is a mutual agreement that could alter the above Avera
result for LCSH. The Court will not speculate on whether a different result would come about
because of a reservation of rights agreement. As will be discussed shortly, if insureds prove bad
faith, then this question would make no difference as the insurer would have forfeited its
cooperation and no voluntary payments provisions.

       The Court acknowledges that a conflict ofinterest can be created if an insurer is defending
subject to a reservation ofrights. As stated by the court in Kansas Bankers Sur. Co. v. Lynass,

       It is clear how a conflict of interest can develop in a situation like this. Kansas
       Bankers could conceivably offer only a token defense if it knows that it can later
       assert non-coverage. If an insurer does not think that the loss on which it is
       defending will be covered under the policy, the insurer may not be motivated to
       achieve the best possible settlement or result. Furthermore, the insurer may be

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       tempted to devote more effort into the non-coverage issue than into defending its
       insured.

920 F.2d 546,549(8th Cir. 1990)(applying South Dakota la-w). The South Dakota Supreme Court
has held that an insurer does not "have the right without consent ofthe insured to retain control of
the defense and at the same time reserve the right to disclaim liability." See Connolly v. Standard
Casualty Co., 73 N.W.2d 119, 122 (S.D. 1955); Kansas Bankers, 920 F.2d at 548. In Kansas
Bankers,the court said that an insurer engages in bad faith conduct if it insists on retaining control
ofits insured's defense over the insured's objection to the insurer defending subject to a reservation
of rights. Id. at 549. Avera was in control of its own defense at the time of settlement and there
are no allegations in the Amended Complaint that LCSH objected to MMCFs defending it subject
to a reservation of rights.

        As in Miller Shugart, the "no action" clause does not prevent the insmeds from entering
into the settlement agreement with plaintiffs. Miller, fii. 7.

        This Court predicts that the South Dakota Supreme Court would hold that an insurer waives
its rights under the "cooperation" and "no voluntary payments" clauses ifit breaches its recognized
duty to settle in good faith. However, the Court does not find under South Dakota law that an
insured may settle solely because its insurer defends subject to a reservation of rights. The
reservation of rights must be a mutual agreement, not a unilateral decision by the insurer.
Defending subject to a reservation of rights agreement is an accepted procedure under South
Dakota law and is not considered a breach of an insurer's obligations under a liability policy. See
St. Paul Fire & Marine Ins. Co. v. Engelmann, 639 N.W.2d 192, 201 (S.D. 2002)(stating that
acting under a "reservation ofrights" is an established procedure in South Dakota). A reservation
of rights agreement that is mutually agreed to by the parties is different from the unilateral
provisions in an insurance contract providing for cooperation and no voluntary payment. When
the actual agreement is presented, the Court will predict what South Dakota law would hold. But
it is not that simple. South Dakota has a substantial body ofinsurance bad faith law. A reservation
of rights agreement cannot give an insurer license to act in bad faith with regard to its insureds. A
central question in this case is whether the insurer acted in bad faith with regard to both Avera and
LCSH. There are allegations that ifproven could support a bad faith determination. Ifthe insureds
are found to have acted in bad faith. South Dakota law would hold that an insurer has forfeited its
rights under the "cooperation" and "no voluntary payments" clauses. The same is true for

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Avera. The Court does not address what happens when an insured refuses to agree to a reservation
of rights agreement as the facts do not present that issue.

   rv.     Breach of contract claim based on withdrawal of unconditional offer to contribute

           $2 million to global settlement

       MMIC has moved to dismiss Plaintiffs' breach of contract claim on the basis that there

exists no contract because there was no consideration for MMIC's promise to contribute $2 million
to settlement and on the basis that Plaintiffs suffered no damage from any alleged breach. (Doc.
50 at 569-70). Plaintiffs allege that they relied on MMIC's promise to their detriment and gave
consideration for MMIC's enforceable promise by "agreeing to attend the mediation, agreeing to
offer the amount remaining under the 2014 self-insured aggregate retention limit of $6 million,
agreeing to offer the $2 million promised by MMIC,and agreeing to settle the Sossan Lawsuits at
the mediation without any contribution from MMIC."(Doc. 44, Tf 177).

       "Consideration is an essential element of a contract both under common law and by statute
in South Dakota." Central Monitoring Serv., Inc. v. ZaMnski, 553 N.W.2d 513, 516(S.D. 1996);
SDCL § 53-1-2(4). Under South Dakota law,"[a]ny benefit conferred or agreed to be conferred
upon the promiser by any other person to which the promiser is not lawfully entitled, or any
prejudice suffered or agree to be suffered by such person, other than such as he is at the time of
consent lawfully bound to suffer as an inducement to the promiser, is a good consideration for a
promise." SDCL § 53-6-1. To constitute consideration, a performance or a return promise must
be bargained for. Baker v. Masco Builder Cabinet Group, Inc., 912 F.Supp.2d 814, 822(D.S.D.
2012)(citing Restatement (Second) of Contracts § 71); Meyer v. S.D. Dept' ofSoc. Servs., 581
N.W.2d 151, 155 (S.D. 1998)(citing 3 Williston on Contracts Consideration § 7.2(4th ed. 1992)
("Nothing can be treated as consideration... that is not intended as such by the parties.")); Richter
V. Indus. Fin. Co.,221 N.W.2d 31,34(S.D. 1974)("It is a recognized principle oflaw that nothing
is consideration for a contract that is not accepted or regarded as such by both parties."). A
performance or return promise is bargained for it is sought by the promisor in exchange for his
promise and is given by the promisee in exchange for that promise." Baker,912,F.Supp.2d at 822
(citing Restatement (Second) of Contracts § 71). Whether or not valid consideration existed to
support the alleged contract in this case is a question of fact that may not be determined by the
Court on a Motion to Dismiss. See Mittleider y. Dakota, Minnesota, E.R.R., Civ. No. 11-4054,

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2014 WL 1093812, at *5(D.S.D. Mar. 19,2014)(holding that the plaintiff brought forth sufficient
facts to show that valid consideration existed to support the alleged contract, and that the defendant
bargained for the same).

         Whether or not Plaintiffs suffered damages that were "proximately caused [by] .. . or
which, in the ordinary course of things, would be likely to result [from]" the breach is also a
question of fact that the Court may not address at this stage of the litigation. SDCL § 21-2-1;
Weitzel v. Sioux Valley Heart Partners, 714 N.W.2d 884, 894(S.D. 2006).

         Accordingly, MMCFs Motion to Dismiss Plaintiffs' breach of contract claim as alleged in
Count V ofthe Amended Complaint is denied.

    V.      Promissory Estoppel Claim

         Plaintiffs allege that MMIC promised to contribute at least $2 million toward the global
settlement of the Sossan Lawsuits with no other conditions attached. (Doc. 44,1182). Plaintiffs
allege that they reasonably relied on MMIC's promise to their detriment by "agreeing to attend the
mediation, agreeing to offer the amount remaining under their 2014 self-insured aggregate
retention limit of$6 million, agreeing to offer the $2 million promised by MMIC,and agreeing to
settle the Sossan Lawsuits at the mediation without any contribution from MMIC." (Doc. 44, T[
183).

         MMCI argues that Plaintiffs have failed to state a claim for promissory estoppel under
Martz V. Hills Materials, 857 N!W.2d 413, 417-18 (S.D. 2014) because the Amended Complaint
fails to allege a clear promise by MMIC to offer $2 million without requiring a release. (Doc. 50
at 570). In addition, MMCI argues that Plaintiffs fail to allege that that they relied on MMIC's
unconditional offer to their detriment. (Doc. 50 at 571). MMIC argues that the Amended
Complaint acknowledges that before the settlement was reached. Plaintiffs were well aware that
MMIC would not offer the $2 million without a release and that only after learning of MMIC's
position, did Plaintiffs settle the cases by themselves. (Doc. 50 at 571).

         Promissory estoppel may be invoked where a promisee alters his position to his detriment
in the reasonable beliefthat a promise would be performed. Garrett v. BankWest,Inc.,459 N.W.2d
833, 848 (S.D. 1990). To apply the doctrine of promissory estoppel, the trial court must find: 1)
the detriment suffered in reliance must be substantial in an economic sense; 2) the loss to the

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promisee must have been foreseeable by the promisor; and 3) the promisee must have acted
reasonably in justifiable reliance on the promise made. Id. Estoppel depends on the facts of each
case and ordinarily present a question for the jury. Id.

       The Court does not find Martz v. Hills Materials to be applicable to this case. There, a
workers' compensation claimant injured his shoulder during the course of his employment after
injuring the same shoulder a couple of years prior while working for a previous employer. Id. at
416. While one physician opined that the claimant's original injury was a "major contributhig
cause" of the claimant's then-existing pain and need for treatment, the claimant's treathig
physician opined that the claimant's second injury contributed independently to his need for
treatment. Id. at 416. The claimant's second employer agreed to be responsible for the claimant's
5% impairment rating,for certain identified medical expenses, and for other medical bills that had
not been paid and contiuued to pay for the treatment of the claimant's shoulder for 3 years. Id.
After that time, his employer's workers' compensation carrier discontinued benefits after an IME
performed by a physician retained by the second employer found that the claimant's current
condition was related to an original injury he suffered to the same shoulder at his previous place
of employment. Id. at 416-17.

       The claimant brought a claim against his second employer for promissory estoppel in which
he alleged that his employer promised to continue to pay his medical bills and that based on that
promise, he altered his position to his detriment by allowing the statute oflimitations to run on his
claim against his first employer. Id. at 417. On appeal,the South Dakota Supreme Court held that
the claimant did not prove by clear and convincing evidence the insurer's commitment to pay
future medical benefits in perpetuity. Id. at 418. The court noted that the letters relied upon by
the claimant for the alleged promise eontained the words ofthe claimant's attorney, not the insurer.
Id. The court noted that the letter also referred to then-existing medical bills, not future medical
bills. Id. at 419. The court concluded that the second employer was not estopped from denying
hability for the claimant's condition and need for treatment several years after the injury.

       Here, Plaintiffs allege in their Amended Complaint that MMIC agreed to contribute $2
million to a global settlement ofthe Sossan Lawsuits; and that making the $2 million contribution
contingent on Plaintiffs' waiver of their bad faith claims against MMCI was a "new condition;"
and that in intemal emails, MMIC acknowledged that it gave Plaintiffs $2 million "without

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strings." (Doc.44,Tjf 68,75, 89). The Court is bound to take these allegations as true at this stage.
If there are questions regarding the exact nature of the representations made to Plaintiffs and the
reasonableness of Plaintiffs' reliance on these representations, these are questions that should be
presented to a factfinder. Garrettv. BankWest, Inc., 459 N.W.2d 833, 848 (S.D. 1990).

       The Court acknowledges that it can be inferred from the facts alleged that Plaintiffs settled
the Sossan Lawsuits after having been made aware that the $2 million contribution was contingent
upon Plaintiffs' waiver of bad faith claims. However, Plaintiffs allege that after five years of
litigation, they entered into the mediation with all 36 individual plaintiffs in reliance upon MMCI's
alleged promise to cover $2 million of any global settlement achieved. It is alleged that on the
second morning of the 2-day mediation. Plaintiffs were informed for the first time that this $2
million contribution was conditional on Plaintiffs executing a waiver of bad faith claims. Even
though Plaintiffs had been informed of this alleged new condition before they ultimately reached
a settlement agreement, a reasonable inference can be made that Plaintiffs could not walk away
from the mediation at this point without suffering further harm because, as Plaintiffs argue, this
mediation represented their best and likely only opportunity to resolve all ofthe cases at one time
prior to trial. (Doc. 52 at 731). Plaintiffs allege that because they were unwilling to waive their
bad faith claims, they ultimately had to pay the entire settlement amount without any contribution
from MMCI. Based on these facts, the Court finds that a reasonable inference can be made that
Plaintiffs relied on MMIC's unconditional offer to their detriment. Accordingly, Plaintiffs have
stated a claim for promissory estoppel.

    VI.    Deceit Claim


       Under South Dakota law,"one who willfully deceives another, with intent to induce bim
to alter his position to his injury or risk,is liable for any damage which he thereby suffers." SDCL
§ 20-10-1. Acts constituting deceit within the meaning of § 20-10-1 are either:

       (1) The suggestion, as a fact, ofthat which is not true, by one who does not believe
           it to be true;
       (2) The assertion, as a fact, ofthat which is not true, by one who has no reasonable
           ground for believing it to be true;
       (3) The suppression of a fact by one who is bound to disclose it, or who gives
           information of other facts which are likely to mislead for want of
           communication ofthat fact; or
       (4) A promise made without any intention of performing.

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SDCL § 20-10-2.

       In support of Plaintiffs' deceit claiin, Plaintiffs allege that MMIC suppressed the fact that
it would not be contributing funds to a settlement ofthe Sossan Lawsuits beyond the $2 million in
"seed money"to get the negotiations started despite being duty bound to disclose that fact is liable
for deceit under SDCL § 20-10-2(3). Plaintiffs allege further that in characterizmg its contribution
as "seed money" to get the negotiations started, MMIC was likely to mislead Plaintiffs into
believuig that MMIC would be starting its contribution at $2 million and moving up from there to
work toward a settlement of the Sossan Lawsuits. (Doc. 44,        200, 202). Plaintiffs also allege
that MMIC suppressed the fact that the $2 million it promised to contribute would be conditioned
upon Plaintiffs' waiver of all bad faith claims against MMIC despite being duty bound to disclose
that fact and alleges that MMIC is thus liable for deceit under SDCL § 20-10-2(3). (Doc. 44,f
201). Plaintiffs allege that MMCI had no intention of contributing more than $2 million nor to
contributing $2 million to a global settlement without obtaining a waiver from Plaintiffs and is
thus liable for deceit under SDCL § 20-10(4). It also could be that MMCI changed its position
internally, and that it only came up with the waiver of bad faith claims idea at the time of the
mediation and it could also he that until that time, MMIC was open to paying more than $2 million
in settlement. But Plaintiffs' claims on those possibilities must be accepted for the purpose ofthis
Motion to Dismiss. The actual facts will be determined by a jury.

        As discussed above, as an excess insurer for Avera, MMCI had no duty to settle or
contribute to settlement until it was made aware that Avera had tendered its policy limits.
Therefore, any allegations that MMCI was duty bound to disclose whether or not it would he
contributing in excess of $2 million may not serve as the basis for Plaintiffs' deceit claim. That
being said, as this Court has already discussed, an excess insurer's control over settlement creates
a fiduciary-like relationship to its insured and the Court concludes that even though MMCI did not
have a duty to contribute to settlement prior to Avera tendering its policy limits, MMCI did in fact,
agree to pay $2 million towards a global settlement and it is alleged that Plaintiffs relied on this
proinise in entering the mediation. The Court concludes that based on the special relationship that
existed between Plaintiffs and MMCI,MMCI had a duty to disclose prior to mediation that its $2
million settlement contribution was contingent on Plaintiffs(MMCI's insureds) waiving their bad
faith claims. See Taggart v. Ford Motor Credit Co., 462 N.W.2d 493, 499 (S.D. 1990)("Cases


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where this court has found a duty to disclose have all involved an employment or fiduciary
relationship."). In order to prove a claim of deceit, Plaintiffs must allege;

       (1) MMCI had a duty to disclose a material fact to Plaintiffs;
       (2) MMCI willfully concealed a material fact or willfully gave information of other
          facts which were likely to mislead because ofPlaintiffs' failure to communicate
           the material fact;
       (3) MMCI acted -with intent to induce Plaintiffs to alter their position to their injury
           or risk;
       (4) The undisclosed information was something Plaintiffs could not discover by
           acting with reasonable care;
       (5) Plaintiffs relied on the lack ofinformation to their detriment; and
       (6) Plaintiffs suffered damage as a result.

Dziadekv. Charter Oak Fire Ins. Co., 213 F.Supp.3d 1150, 1161 (D.S.D. Sept. 30, 2016)(citing
SDCL §§ 20-10-1 to 20-10-2); South Dakota Pattern Jury Instructions: Civil 20-110-25. Under
South Dakota law, questions of deceit are generally questions offact to be determined by the jury.
Sporlederv. Van Liere,569 Fi.W.2d S, 11 (S.D. 1997). Based on the facts alleged: l)thatMMCrs
$2 million contribution was always going to be contingent on a waiver even though it is alleged
that MMIC never disclosed this fact; 2) that Plaintiffs relied on their lack of knowledge of the
contingency of MMlC's offer in entering into settlement negotiations; and 3) that Plaintiffs
ultimately paid the $2 million in the global settlement that they believed would be covered by
MMCl's contribution because they refused the comply with the new condition to performance,the
Court concludes that Plaintiffs have stated a claim for deceit under SDCL § 20-10-2(3).
Additionally, the Court notes that these allegations state a cause of action under SDCL § 20-10-
2(4)—^that MMCI made a promise (a non-conditional offer to contribute $2 million to a global
settlement) without any intention of ever performing.

    VII.   Piercing Corporate Veil

       In their Amended Complaint, Plaintiffs have named MMCl's parent corporation.
Constellation Inc., as a Defendant in this matter. Defendants have moved to dismiss the claims
against Constellation, arguing that Plaintiffs' allegations do not state a claim for piercing the
corporate veil. (Doc. 50 at 573-74). Under South Dakota law, the corporate veil may only be
pierced iftwo elements are met:

       (1) the parent controls the subsidiary to such a degree as to render the latter the
           mere instrumentality ofthe former; and

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        (2) adherence to the rule of corporate separateness would produce injustices and
            inequities.
Glanzer v. St. Joseph Indian Sch, 438 N.W.2d 204, 207 (S.D. 1989). Defendants argue that
Plaintiffs' allegations are insufficient to satisfy the second Gamer requirement—^that adherence to
the rule of corporate separateness would produce injustices and inequities. (Doc. 53 at 791).^

         The court in Glanzer stated that the "second leg of the instrumentality exception is
established where the wrong alleged is a result offraudulent, unjust or illegal acts." Id. The Court
finds informative Judge Schreier's opinion in Burke v. Ability Ins. Co., 926 F.Supp.2d 1056
(D.S.D. 2013). There, the court held that plaintiffs had established a prima facie case of personal
jurisdiction based on piercing the corporate veil or alter ego. The court stated that:

         There is evidence to suggest that all entities were potentially engaging in unjust
         conduct through their handling of the claimant's or Hermsen's policies. If those
         defendants were involved in the alleged fault or harm caused against Hermsen and
         the noncontracting defendants were dismissed or liability could not be apportioned
         to them, then an injustice or inequity eould result: Although fault must first be
         established by a jury, the jury should be allowed to apportion fault as it sees fit to
         prevent injustice and to properly distribute liability. See Kansas Gas & Elec. Co.
         V. Ross,521 N.W.2d 107,112(S.D. 1994)(asking whether "adherence to the fiction
         of separate corporate existence [would] sanction fi-aud, promote injustice or
         inequitable consequences or lead to an evasion oflegal obligations.").

Id. at 1065.


         In Plaintiffs' claim for deceit, they allege that Nick Ghiselli, Chief Legal Officer for
Constellation made the unconditional offer to contribute $2 million to a global settlement. (Doc.
44,     20, 191). It is alleged that in a September 27, 2019, letter, MMIC admitted through its
coverage counsel Mark Malloy, that "a mutual release was always going to be a contingency of
any MMIC contribution toward settlement." (Doc.
                                            |   44, 99). Plaintiffs also allege that MMIC,
through Giselli, suppressed the fact that MMIC promised to contribute $2 million unconditionally
toward a global settlement without any intention ofperforming in violation ofSDCL § 20-10-2(4).
(Doc. 44, TITf 201-05).




® Defendants do not argue that Plaintiffs' allegations do not satisfy the first prong of the Glanzer test.

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       Based on the direct involvement of Ghiselli, an officer of Constellation, in the alleged
deceit and bad faith conduct,the Court will, at this stage, allow Plaintiffs' claims to proceed against
Constellation. Further discovery may show that Constellation's involvement in the alleged unjust
conduct is insufficient to warrant piercing the corporate veil and the Court reserves the right to
revisit this issue. However,further discovery may also show that Constellation's involvement was
even greater than that alleged. The Court notes as an aside that in the emails attached to the
Declaration of Laura Hansen in her Motion to Dismiss show that President and Chief Executive

Officer of Constellation, Inc., William J. McDonough, was kept abreast of the developments in
the litigation and settlement ofthe Sossan Lawsuits and had approved of Ghiselli's letter to Avera
affirming MMIC's commitment to contribute $2 million to a global resolution of the Sossan
Lawsuits. (Doc. 51-4 at 618-19).

        Accordingly, it is hereby ORDERED that Defendants' Motion to Dismiss (Doc. 49) is
GRANTED IN PART and DENIED IN PART as follows:


        1) GRANTED as to Avera's claim for breach of duty to defend;
       2) DENIED as to LCSH's claim for breach of duty to defend;
       3) DENIED as to Avera and LCSH's claims for bad faith;
       4) DENIED as to Avera and LCSH's claims for breach of duty to indemnify;
       5) DENIED as to Avera and LCSH's Count V breach of contract claim;
       6) DENIED as to Avera and LCSH's claims for promissory estoppel;
       7) DENIED as to Avera and LCSH's claim for deceit; and
       8) DENEID as to Avera and LCSH"s claim for piercing the corporate veil.



       Dated this      day of November, 2021.



                                               BY THE COURT:




                                               .awrence L. Piersol
ATTEST:                                        United States District Judge
MATTHEW W. THELEN,CLERK

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